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                 Exhibit 62
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA

        Anderson et al. v. Raffensperger et al., Case No. 1:20-cv-03263-MLB



                          EXPERT DECLARATION OF DR. MUER YANG


                                               INTRODUCTION

         I have been retained by Plaintiffs’ counsel as an expert witness in the above-referenced

case to offer my opinions as to the factors that caused the long waiting lines in the 2020 Presidential

Preference Primary (PPP) election in Georgia on June 9, 2020, and to offer my opinions as to the

factors that should be considered when making election resource allocation decisions for the 2020

General Election in November to avoid long lines and inequitable burdens on voters resulting from

those decisions. 1

                                         SUMMARY OF OPINIONS

         Based upon my review of the available information and my extensive experience relating

to waiting lines analysis, queueing theory, simulation, and elections operations, I have concluded

that:

    •    Election officials in certain counties in Georgia did not properly consider the distribution

         of voters across polling placesespecially the ones that serve multiple precincts, the

         allocation and distribution of voting machines to polling places, including accounting for

         potential machine breakdowns and/or human error in machine usage, and the ballot lengths


1
 While I am aware that Georgia has had a history of long lines in previous elections, I have not used that data in
making assessments for the 2020 General Election because the voting machines and, as such, voting process for those
elections are different from the process that will in use in the 2020 General Election. Thus, the type of data I need to
perform my analysis, see discussion infra, is best obtained from the 2020 PPP where the same process that will be in
use in the 2020 General Election was in place.


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       at different polling places when they planned for the 2020 PPP.

   •   The failure to properly plan for the factors noted above resulted in insufficient voting

       resources being allocated to certain polling places, especially ones that were large in terms

       of the total number of voters on Election Day (e.g., 800+ Election Day voters), which

       therefore caused long waiting lines at polls.

   •   If the state and counties fail to properly account for the factors listed above when planning

       for the future elections such as the 2020 General Election, it is likely that long waits for

       voters and inequitable access to voting across the counties and the state will continue.

                                      QUALIFICATIONS

       I am an associate professor in the Department of Operations and Supply Chain

Management, Opus College of Business, University of St. Thomas (UST). I received my Ph.D. in

operations management from the Carl H. Lindner College of Business at the University of

Cincinnati (UC). I received an M.S. in management science and a B.S. in management information

systems from Tsinghua University. At UST and UC, I have taught the following classes: Applied

Analytics and Data Visualization, Operations Management, Statistical Methods for Decision

Making (MBA level), Business Statistics I, and Operations Planning and Scheduling. While I

highlight my qualifications herein, a full discussion of my qualifications and experiences is

contained in my curriculum vitae which is attached as Appendix 1.

       Waiting lines analysis is a major topic in the field of operations management. I have been

studying voting lines and the optimization of voting locations to reduce lines within that field

specifically since 2007. I have used queuing theory, simulation-optimization techniques, and

robust-optimization models to improve voting operations. In particular, I have used these

techniques to determine fair allocations of voting machines and voting technology at polling places




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so that voters wait approximately equal amounts of time across jurisdictions. I have published

multiple peer-reviewed papers in leading academic journals in the field of operations management

generally and with respect to voting lines specifically. Some of my relevant publications related to

voting lines and the operation of polling locations include:

   •   Allen, T.T., Yang, M., Huang, S., & Hernandez, O., (2020), Determining resource
       requirements for elections using indifference-zone generalized binary search, Computers
       & Industrial Engineering, 140, 106243, https://doi.org/10.1016/j.cie.2019.106243.

   •   Allen, T.T., Yang, M., Huang, S., & Hernandez, O., (2020), Method to Allocate Voting
       Resources with Unequal Ballots and/or Education, MethodsX,
       https://doi.org/10.1016/j.mex.2020.100872.

   •   Kumar, S., Yang, M., & Goldschmidt, K.H. (2018), Will aging voting machines cause
       more voters to experience long waits?, International Journal of Production Economics,
       198, pp. 1-10.

   •   Yang, M, Wang X., & Xu N. (2015), A Robust Voting Machine Allocation Model to
       Reduce Extreme Waiting, Omega the International Journal of Management Science,
       57(B), pp.230-237.

   •   Wang, X., Yang, M., & Fry, M. J. (2015). Efficiency and Equity Tradeoffs in Voting
       Machine Allocation Problems, Journal of Operational Research Society, 66, pp.1363-
       1369.

   •   Yang, M., Fry, M. J., Kelton, W. D., & Allen, T. T. (2014). Improving Voting Systems
       Through Service Operations Management, Production and Operations Management,
       (23)(7), pp. 1083-1097.

   •   Fry, M. J., & Yang, M. (2013). Using OR to Overcome Challenges in Implementing New
       Voting Technologies, Wiley Encyclopedia of Operations Research and Management
       Science, pp. 1-8.

   •   Yang, M., Allen, T. T., Fry, M. J., & Kelton, W. D. (2013). The Call for Equity:
       Simulation-Optimization Models to Minimize the Range of Waiting Times, IIE
       Transactions, (45)(7), pp. 781-795.

   •   Yang, M, Fry, M.J., & Kelton, W.D. (2009). Are All Voting Queues Created Equal?
       Proceedings of the 2009 Winter Simulation Conference, pp. 3140-3149.

       I received the Susan E. Heckler Research Excellence Award in 2015, which recognizes

outstanding faculty achievement in research at the University of St. Thomas, and my research on



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voting operations received second place in the INFORMS Public Sector OR best paper competition

in 2011. 2 INFORMS is the leading international association for professionals in operations

research and analytics in the world. It promotes best practices and advances in operations research

(OR) to improve operational processes through highly-cited publications, conferences, and

competitions. The Section on Public Sector OR is the INFORMS subdivision dedicated to “doing

good with good OR.” It furthers the use of operations research and management science in the

areas such as public policy and public service. I served as VP of Communications at INFORMS

Public Sector OR from 2018 to 2019. I am currently the Junior Vice President of Programs at

INFORMS Public Sector OR and serving as the public sector cluster co-chair for the INFORMS

Annual Meeting 2020. My research in voting operations also has received media coverage:

    •   Are All Voters Allowed Equal Access Given Ballot Length Diversity? IE Industrial
        Engineer, June 2013.

    •   Voting-Machine-Allocation Method Could Reduce Voters’ Wait Time by 36 Percent,
        Science News Daily, 2010.

        I have testified as an expert at trial or by deposition in the following cases over the

preceding four years:

    •   Sylvia Bruni et al. v. Ruth Hughs et al. 5:20-cv-35 (S.D. Texas)

    •   League of Women Voters of New Hampshire et al. v. William M. Gardner et al., 226-
        2017-CV-00433 (N.H. Sup. Ct.)

    •   Feldman et al. v. Arizona Secretary of State’s Office et al., 16-CV-01065-PHX-DLR (D.
        Ariz.)

    •   Ohio Democratic Party v. Husted, 2:15-cv-1802 (S.D. Ohio).

        In Sylvia Bruni, I opined on the effect that eliminating the straight-ticket voting option



2
 The PSOR Best Paper Award recognizes research judged to be of the best quality in all of the disciplines and
application areas represented within PSOR. Through this competition, PSOR seeks to build a tradition of scholarly
exchange of knowledge of public policy, programs, safety, service, and needs within the entire INFORMS community.


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would have on the length of time Texas voters will wait to cast a ballot. In League of Women

Voters of New Hampshire, I opined on the effect of changes to the same-day registration process

on voter wait times on Election Day. In Feldman, I opined on the effect of polling-place allocation

decisions on voter wait times. That portion of the case was settled. Afterwards, I worked

collaboratively with the defendants’ expert to put together a series of joint recommendations as to

how Maricopa County might work proactively to minimize lines in future elections. In Ohio

Democratic Party, I opined on the effect of changes to the requirements for direct-recording

electronic voting machines on voter wait times. No court has ever found my opinion or

methodologies to be unreliable.

       I am being compensated for my work in this matter at a rate of $500 per hour, plus

reimbursement for related personal expenses. My compensation is not contingent in any way on

my conclusions.

                        SOURCES AND METHODOLOGY OVERVIEW

       For this report, I reviewed available data regarding the 2020 PPP election results in several

counties of Georgia (including Fulton County, Henry County, Athens-Clarke County, Douglas

County, and Chatham County), the data I reviewed included data on the number of ballots cast at

each precinct on Election Day, the polling places that serve the corresponding precinct(s), and the

number of voting machines allocated at each polling place in Henry County and Athens-Clarke

County. It is my understanding that data regarding the number of voting machines allocated at

each polling place was not provided for Fulton, DeKalb, Cobb, Gwinnett, Chatham, Clayton,

Douglas, and Macon-Bibb Counties. Accordingly, there are some analyses that I cannot perform

for these counties. Nevertheless, if I received such data, I could perform the same analyses that I

perform for Henry and Athens-Clarke Counties for all of these other locations. I also utilized a




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data set of the number of voters that checked-in per hour at each of the polling places for which I

had data in Henry and Athens-Clarke County. Some of the data were provided to me by counsel

for Plaintiffs. It is my understanding that these data were obtained through public records requests.

The other data sets were from the data set created by Georgia Public Broadcasting, which is

available publicly. 3      As discussed below, where applicable, I performed quantitative analysis

using queueing theory and simulation models to evaluate and assess the assumptions and

determinations of the election officials regarding the allocation of Election Day resources and to

provide recommendations regarding the same. The sources I relied on in preparing this report are

the kinds of sources that are regularly relied upon by operations-management professionals

conducting work of this kind and are of the sort that I regularly and ordinarily rely upon in my

academic work.

         A.       Queueing Theory

         The field of queueing theory began by studying congestion and waiting times in telephone

service in the early 1900s. Since then, it has been widely applied in a variety of queue situations,

such as manufacturing, the airline industry, traffic engineering, and telecommunications to provide

insight into performance improvement. Queueing models consist of mathematical formulas that

can be used to predict queue performance measures, such as the expected wait time in a queue and

the probability each person arriving at the location will have to wait in line. The basic features of

queueing models include three variables: arrival rate, service rate per “server,” and the number of

servers in the system. 4 In general, a larger arrival rate, a smaller service rate per server, and/or a

smaller number of servers in the system will cause longer average wait times 5 and a higher


3
  https://www.gpb.org/news/2020/07/17/heres-what-the-data-shows-about-polling-places-lines-in-georgias-primary.
4
  Because “server” is a common term in queueing theory, in this report I often refer to voting machines (which included
the poll pad, BMD, and scanner) as “servers.”
5
  Average wait time at a polling place is “the sum of every voter’s wait time divided by the total number of voters


                                                          6
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probability of waiting at a given polling place.

         Voting lines can also be modeled using queueing models (e.g., Yang et al. 2014). In the

context of voting lines, the “arrival rate” refers to the number of voters arriving to the polling place

per unit of time, and the “service rate per server” refers to the number of voters who can be served

at by the voting equipment (including the poll pad, BMD, and scanner) per unit of time. For

example, if 1,200 voters turn out to vote at a polling place on Election Day, and the polling place

is open for 12 hours, then the arrival rate is 100 (=1,200/12) voters per hour. If the average time

to cast a ballot on BMD is 5 minutes, then the service rate per BMD is 12 (=60/5) voters per hour.

The number of servers here refers to the number of voting machines that can serve multiple voters

at the same time. For example, 5 BMDs will allow 5 voters to cast ballot simultaneously.

         However, queueing models depend on certain assumptions, including that voters will arrive

at a constant rate throughout the day. But we know that voters do not show up to polling places at

a steady rate over the course of the day; rather, there is normally a “morning rush” and “after-work

rush” of voters at the polling place. Thus, queueing models tend to underestimate the average

amount of time voters will wait before casting ballots. For this reason, using queueing models

helps ensure a conservative analysis of lines and waiting times.

         B.        Simulation Models

         “Simulation models” are another popular method used to study waiting lines, and these

have been and can be applied in the context of voting systems (e.g., Yang et al. 2014). Simulation

models capture more dynamic characteristics of queues, such as voters arriving at different rates

during the day, servers’ availability at different levels during the day, and voters lining up before

the poll opens. Thus, in some situations, simulation models can produce more accurate estimates



turned out at this poll.”


                                                   7
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for actual queue performance than queueing formulas. However, simulation models require data

on input parameters, such as the arrival process and the service process, to provide accurate

estimates on real wait times.

       In situations with limited available empirical data, I prefer to use queueing formulas due to

their rigor, transparency, and reasonable approximation to the real queue. Queueing formulas can

also provide general and comprehensive insights that help observers better understand the queue

performance. On the other hand, when more data are available to validate the simulation model, I

like to use simulation models to estimate queue performances as a way of complementing the

general insights from the queueing formula.

       C.      Average Wait Time

       Average wait time is the most commonly used metric in the voting context, but it can mask

and underestimate the real waiting problems at polling places. Some voters may still experience

extremely long wait times while the average wait time at the polling station is short. For example,

in the 2008 presidential election in Ohio, the majority of precincts in Franklin County had average

waiting times of less than 5 minutes, but many voters still had to endure wait times of an hour or

more (see, Yang et al. 2013). According to an empirical study (Stewart III, 2013), two-thirds of

voters in the 2012 election waited less than 10 minutes to vote, while three percent of the voters

waited more than an hour nationwide. Although three percent might seem to be a small fraction,

it is substantial in terms of the actual number of voters. For instance, there were over 1,960,000

Election Day votes 6 in the 2012 presidential election in Georgia, and about 58,800 ( =

3% × 1960000) voters waited more than an hour. One must therefore keep in mind that a short

average wait time (e.g., <10 minutes) means that many voters could still experience very long wait


6
   Based on the 2012 presidential election results on the website of Georgia Secretary of State, at
https://results.enr.clarityelections.com/GA/42277/113204/en/reports.html#.


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times (e.g., >30 minutes) at a polling station.

         Following the 2012 presidential election, President Obama convened the bipartisan US

Presidential Commission on Election Administration (PCEA) to address the problem of voting

wait times. PCEA concluded that the appropriate benchmark for defining what constitutes a “long”

wait time is 30 minutes. Other states have adopted this as a standard, for example, South Dakota

Codified Laws x12-14-4 states that “more than thirty minutes waiting time is deemed unreasonable

waiting time.” Likewise, the New York Election Law requires that “County boards shall deploy

sufficient voting equipment, election workers and other resources so that voter waiting time at a

poll site does not exceed 30 minutes.” Thus, when I speak about a long voting line in this report, I

am referring to lines and wait times that are longer than 30 minutes.

                                        ANALYSIS AND RESULTS

         According to queueing theory, average wait times are affected by three factors: arrival rate,

service time, and the number of servers. Longer average wait times result from higher arrival rates,

longer service times, and fewer servers. In the context of voting lines, this means the three key

factors are: (1) the number of voters who arrive at a polling place, (2) the average times to check

in, to vote, and to scan, and (3) the number of voting machines (poll pad, BMD, printer, and

scanner). The higher the turnout, the longer the average wait time; the longer the average voting

time, the longer the average wait time; and the lower the number of voting machines, the longer

the average wait time.

         The 𝑀𝑀/𝑀𝑀/𝑐𝑐 queue model 7 will produce estimates of expected wait times only when the

arrival rate is less than the overall service rate (see Anderson et al. 2011). In other words, for the

formula to produce estimates of voter expected wait times, the rate at which voters arrive at the


7
  𝑀𝑀/𝑀𝑀/𝑐𝑐 queue model describes is a multi-server queueing system. It assumes that a voter’s arrival process follows
a Poisson distribution, the service time follows an exponential distribution, and 𝑐𝑐 servers in the queue system.


                                                         9
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polls must be smaller than the rate that the servers can process them. Otherwise, if the arrival rate

exceeds the service rate, the waiting line at the polls continues to grow until the polls close, a

situation in which scholars in my field refer to becoming “overloaded.” When overloading occurs,

the 𝑀𝑀/𝑀𝑀/𝑐𝑐 formula cannot provide estimates of voter expected wait times, because the expected

wait times essentially become infinite under the M/M/c model assumptions. Because that result is

not particularly helpful (other than to indicate that the lines at the polls will be extremely long), in

such situations, I adopt a simple fluid model to estimate the waiting time (see Yang 2011). 8

        A general voting process at a polling station on Election Day in 2020 in Georgia, i.e., the

process that was in use in the 2020 PPP and will be in use in the 2020 General Election, can be

considered as a tandem queue system with three stages (see Figure 1). The first stage is where a

voter checks in once he arrives at a polling station; the second stage is where a voter casts his ballot

using the BMD and print it out; and the third stage is where a voter deposits his printed ballot

through a scanner. Usually, there are multiple poll pads, multiple BMDs and printers in the system.

Voters can wait in line at each stage separately. The voting process is explained in a demonstration

video posted by Atlanta Journal-Constitution showing the voting process in Georgia under the new

system used in the 2020 PPP and November General Election, which is the source for Figure 1. 9




8
  Fluid models assume traffic flow to be like the flow of a fluid, which is another mathematical approach to
approximate queues. Fluid queues allow arrivals to be continuous rather than discrete as in M/M/c model.
9
  https://www.youtube.com/watch?v=MDmSTKarZe8.


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                                    Figure 1 Model Logic of Voting Lines


       The waiting line at each stage can be approximated by an 𝑀𝑀/𝑀𝑀/𝑐𝑐 queue. Due to the

properties of the tandem 𝑀𝑀/𝑀𝑀/𝑐𝑐 queue system, the queue at each stage can be treated

independently, and thus the arrival rate to the check-in stage, to the BMD stage, and to the scanning

stage are the same, as long as the queues at the first two stages are not overloaded. A voter’s total

wait time at a polling place is the sum of the wait at the check-in, the wait at the BMDs, and the

wait at the scanner. The bottleneck of the queue system determines the throughput of the system

(e.g., the number of voters who complete the whole voting process per hour).

       Simulation models can capture more complex and realistic characteristics of the queueing

system as illustrated in Figure 1. The first step of my analysis is to input the variables that go into

the 𝑀𝑀/𝑀𝑀/𝑐𝑐 queue formula and simulation models: the arrival rate, the average check-in time, the




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average voting time, the average scanning time, and the number of servers. In the sections

immediately below, I explain my methodology for determining each of these variables.

                                    Check-in Time and Scanning Time

           To determine the time needed to check-in, vote, and scan a ballot, I first reviewed the

demonstration video mentioned above, which likely represents optimal use of the voting system. 10

The check-in time in the video is about 25 seconds, the time for a printer to print out a ballot is

about 10 seconds, and the time to deposit a ballot into the scanner is about 14 seconds. However,

in a real voting scenario, the check-in time involves the interactions between the voter and the

election official at the check-in table, such as short conversations about identification, the voting

process, etc. Thus, the 25 seconds in the video, which does not include any conversation between

the voter and poll worker, is likely to underestimate the actual check in time. Other sources

(Remias and Bell, 2014) about check-in time using electronic pollbooks indicate that average

check-in times range from 45 seconds to 60 seconds. The GPB data setfor the Park Tavern polling

location in Fulton County indicated that the highest number of voters that checked-in in a single

hour in the 2020 PPP was 234. 11 If two poll pads were used, the check-in rate would be about 31

seconds per voter; and if three poll pads were used, the check-in rate would be about 46 seconds

per voter. Thus, for my analysis I assume the average time to check-in a voter is 30 seconds, which

is a conservative assumption.

           Note that the actual check-in time is likely to be longer than 30 seconds. Any of the

following situations could slow down the check-in process: malfunctions of the poll pads, voters

with questions or long conversations with poll workers, voters whose names are not listed in the

poll pads, and poorly-trained poll workers who are not familiar with how to operate the poll pads.


10
     https://www.youtube.com/watch?v=MDmSTKarZe8.
11
     https://public.tableau.com/profile/stephen.fowler#!/vizhome/GeorgiaPollsOpenClose69/GA69PollsOpenClose.


                                                       12
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                                        Time to Cast a Ballot

          Voting time is the total amount of time it takes for the voter to cast a ballot on a voting

machine. Many studies in literature (e.g., Stein et al. 2008, Yang et al. 2014, and Jaffe et al. 2018)

find that the average voting time is in a linear relationship with the ballot length. Specifically, Jaffe

et al. (2018) fit a regression equation to empirical data for modeling the average time to vote

depending on the number of races and the number of candidates on the ballot. According to this

regression model, the average time to vote (in min) = 1.831 + 0.025*Offices on Ballot +

0.023*Candidates on Ballot. “Offices on Ballot” refers to the races or issues on ballot, and

“Candidates on Ballot” refers to the choices.

          During the 2020 PPP, the ballot lengths differed for voters from different precincts and of

different party affiliations. The Republican Party ballot was shorter than the Democratic Party

ballot. For example, for voters in Henry County, the Republican Party ballot had an average of 30

offices and an average of 44 candidates, while the Democratic Party ballot had an average of 32

offices and an average of 70 candidates. For voters in Fulton County, the Republican Party ballot

had an average of 39 offices and an average of 53 candidates, while the Democratic Party ballot

had an average of 48 offices and an average of 91 candidates.

          According to the regression model in Jaffe et al. (2018), the Republican voters would need

at least an average of 3.6 minutes to cast a ballot and the Democratic voters would need at least an

average of 4.2 minutes in Henry County. Likewise, the Republican voters would need at least an

average of 4.0 minutes to cast a ballot and the Democratic voters would need at least an average

of 5.1 minutes in Fulton County. Thus, the average time to vote on BMD would be longer in the

polling places with more Democratic voters than in the polling places with more Republican

voters.




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        In Henry County, the number of Democratic voters on Election Day in the 2020 PPP was

over two times as many as the number of Republican voters; and the number of Democratic voters

was over five times as many as the number of Republican voters on Election Day in Fulton County.

Thus, according the regression model, the average time to vote on BMD in Fulton County is about

five minutes and the average time to vote on BMD in Henry County is about four minutes. Under

the new voting system, the time to vote on BMD also includes the time to review a ballot and the

time to print a ballot. In addition, due to the Covid-19 situation, voting machines were sanitized

after each use. Thus, the actual time to cast a ballot on BMD would very likely be longer than what

the regression model predicts, making these estimates a lower bound.

                                    Arrival Rate and Arrival Process

        The     arrival    rate   at    a   polling     place    is   calculated     using     the    formula:

# of election day voters / amount of time polls are open. The number of voters at a polling

place on Election Day ranged from 342 to 1,018 during the 2020 PPP in Henry County. 12 In Fulton

County, the number of voters at a polling place ranged from 7 to 2,305. In Chatham County, the

number of voters at a polling place ranged from 187 to 497.

        On Election Day of the 2020 PPP, most polls in Georgia were open from 7:00 a.m. to 7:00

p.m., 12 hours in total. 13 Some polls, however, though scheduled to be open at 7:00 a.m. did not

actually open at that time because the voting equipment was not ready by then. All polls in Fulton

County were open until 9:00 p.m., 14 hours in total. 14

        GPB News created a data set for the 2020 PPP using poll pad check-in data from the

Secretary of State’s office. 15 This data set contains the number of voters checked in per hour at


12
   https://public.tableau.com/profile/stephen.fowler#!/vizhome/GeorgiaPollsOpenClose69/GA69PollsOpenClose.
13
   https://ballotpedia.org/State_Poll_Opening_and_Closing_Times_(2020).
14
   https://patch.com/georgia/atlanta/ga-primary-fulton-county-polls-stay-open-until-9-p-m.
15
   https://www.gpb.org/news/2020/07/17/heres-what-the-data-shows-about-polling-places-lines-in-georgias-primary.


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each polling place in Georgia. However, the number of voters checked in per hour is not exactly

the same as the number of voters arriving at a polling place. It is possible that voters could not be

checked in when the polling location was full inside due to Covid-19 and the limited space of the

polling place, even if the poll pads were available to check in the next voters. But this data can still

reflect the arrival process to a certain degree. Figure 2 displays the total number of voters checked

in per hour statewide on Election Day. According to this figure, voters did not arrive at polls evenly

throughout the day. Generally speaking, more Georgia voters went to the polls in the late afternoon

and fewer went to the polls in the morning. The waiting lines at polls, if any, were likely to be

longer towards the end of the day.




                          Figure 2 Number of Voters Checked-in per Hour Statewide. Data source:
     https://public.tableau.com/profile/stephen.fowler#!/vizhome/GeorgiaPollsOpenClose69/VotersPerHourStatewide

       In my experience, as discussed above, queueing formulas tend to underestimate the actual

wait time in voting lines. This is particularly so because voting lines become longer when a large

number of voters arrive during a “morning rush” or an “after-work rush,” such as illustrated in



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Figure 2. The queuing formulas do not take this into account. It is important to remember that even

if the queueing formula indicates the average wait time is short (e.g., <10 minutes), many voters

may still experience long wait times (e.g., >30 minutes) at polls, particularly those that arrive to

vote at peak arrival times.

                          Reviewing Henry County’s 2020 PPP Experience

                Henry County had 37 polling places on Election Day of the 2020 PPP. Each polling

place was assigned with 2 poll pads, 6 ballot making devices, 6 printers, and 1 scanner. All polling

places opened from 7 a.m. to 7 p.m., except Hickory Flat and Lake Haven. These two places closed

at 7:30 p.m. and 7:10 p.m., respectively, pursuant to court orders. The number of voters at a polling

place on Election Day in Henry County ranged from 342 (McDonough) to 1,018 (Lowes), with an

average of 617 voter per polling location.

        The ballot length varied precinct by precinct. The Republican ballot had 28 to 33 races and

41 to 49 choices; and the Democratic ballot had 30 to 35 races and 65 to 78 choices. Precinct

Lowes had one of the longest ballots, where the Republican ballot had 33 races and 49 choices,

and the Democratic ballot had 35 races and 77 choices. Longer ballots resulted in longer voting

time. Six polling places checked in their last voters no later than 7 p.m.; 23 polling places checked

in their last voters between 7 p.m. and 8 p.m.; and eight polling places checked in their last voters

after 8 p.m., where the latest voter checked in at 10:09 p.m. at Harvest Point UMC in Lowes.

        According to the available public information, many voters had no or short wait times to

cast ballots, but many other voters in certain polling places experienced long wait times to vote. 16




16
  https://www.henryherald.com/news/henry-county-voters-go-to-the-polls-on-tuesday/article_4c03898c-aaa4-11ea-
b061-1f00d99530d5.html.


                                                     16
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Based on voters’ own comments about their voting experience posted on the Henry Herald

Facebook page, the following polling places had long waiting lines on June 9, 2020: 17

              At the Harvest Point UMC in Lowes, there was about an hour wait at around 2 p.m.

              At Calvary Baptist Church in North Hampton, there was over an hour wait in the

               afternoon.

              At Red Oak United Methodist in Red Oak, a long line was observed wrapping around

               the bus loop of the school and a voter waited for 20 minutes but had yet to enter the

               building.

           As indicated in the GPB News data set, the last voter at polling places in Lowes, North

Hampton, Mt Carmel, Red Oak, and Stockbridge East-West, respectively, checked in at 10:09

p.m., 8:22 p.m., 8:45 p.m., 8:20 p.m., and 8:44 p.m. All more than an hour after the official poll

closing time of 7 p.m. It is my understanding that per Georgia law, the last voters at these polls

must have arrived the poll before 7 p.m. otherwise they were not allowed to vote. In other words,

they must have waited for at least 189 minutes, 82 minutes, 105 minutes, 80 minutes, and 104

minutes at Lowes, North Hampton, Mt Carmel, Red Oak, and Stockbridge East-West, respectively,

Other voters reported no or short wait times at some polling places when they went to polls,

including Kelley Presbyterian Church in Kelleytown, Bethany Baptist Church in Lake Dow, New

Hope United Methodist Church in Sandy Ridge, Sharon Baptist Church in McMullen, Oakland

Baptist Church in Oakland, J. P. Moseley Park in Cotton Indian, and Locust Grove Event Center

in Unity Grove.

           Table 1 displays the estimated average wait time and the percentage of voters who waited

for at least 30 minutes at each polling place on Election Day of the 2020 PPP, using the M/M/c



17
     https://www.facebook.com/thehenryherald/.


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queue formula. The average voting time at each polling place is estimated using the regression

model in Jaffe et al. (2018). As noted in Jaffe et al. (2018), the regression model has a relatively

low R2 and the standard errors of the estimates are “substantively non-trivial.” They further

recommend that it would “probably be wise for an election official to use the upper end of the

confidence interval for planning purpose[s].” Thus, I use the upper end of the 95% confidence

interval as the average voting time at each polling place as listed in Table 1.

         The shaded cells in Table 1 represent instances in which the polling place became

overloaded, 18 making it impossible for the M / M / c formula to produce a numerical result. In

those instances, as mentioned earlier, a simple fluid model 19 is used to estimate the expected wait

time.

                       Table 1 Estimated Wait Lines at Polls in Henry County on Election Day in 2020 PPP

  Precinct /               Check-in     Voting      Scanning       Wait at      Wait at     Wait at        Total
                 # of                                                                                              % Wait
   Polling                  Time        Time          Time         Check in     BMD         Scanner        Wait
                Voters                                                                                             30+ min
    Place                   (min)       (min)        (min)          (min)       (min)        (min)         (min)
 Lowes           1018        0.5         5.9          0.23           0.1         139          0.1           139     100%
 Mt Carmel       910          0.5         5.9          0.23          0.1         32.6          0.1         32.7     100%
 North
                 821          0.5         5.7          0.23          0.0         87.7          0.1         87.9     100%
 Hampton
 Red Oak         830          0.5         5.6          0.23          0.0         28.1          0.1         28.2     100%
 Stockbridge
                 818          0.5         5.7          0.23          0.0         27.9          0.1         28.0     100%
 East-West
 Wesley
                 741          0.5         5.6          0.23          0.0         25.4          0.1         25.5     31%
 Lakes
 South
                 741          0.5         5.6          0.23          0.0         17.5          0.1         17.6     20%
 Hampton
 Locust
                 729          0.5         5.5          0.23          0.0         11.7          0.1         11.8     10%
 Grove
 Hickory Flat    731          0.5         5.6          0.23          0.0          8.0          0.1          8.1     16%
 Ellenwood       699          0.5         5.4          0.23          0.0          4.7          0.1          4.8      1%
 Westside        632          0.5         5.8          0.23          0.0          4.1          0.1          4.2      1%
 Pates Creek     668          0.5         5.5          0.23          0.0          4.0          0.1          4.1      1%


18
   When the queue is overloaded at the second stage BMDs, the arrival process to the third stage, scanner, is no longer
the same as the arrival process to the second stage. The arrival rate to the scanner would be equal to the service rate
at the second stage BMDs, which is smaller than the arrival rate to the second stage. Due to the short service time at
the third stage, I still used the arrival rate at the second stage to estimate the wait time even if the second stage is
overloaded, just to simplify the problem. Thus, the estimated wait time at the scanner when the second stage queue is
overloaded in Table 1 is slightly overestimated.
19
   Fluid model is a continuous deterministic analog of queueing networks, which is able to deal with overloaded
queues.


                                                              18
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 Shakerag         660      0.5      5.4       0.23        0.0      2.8       0.1       2.9       0%
 Lake Dow         678      0.5      5.2       0.23        0.0      2.7       0.1       2.8       0%
 Oakland          640      0.5      5.5       0.23        0.0      2.7       0.1       2.7       0%
 Cotton
                  637      0.5      5.4       0.23        0.0      2.1       0.1       2.2       0%
 Indian
 Kelleytown       680      0.5      5.0       0.23        0.0      2.0       0.1       2.1       0%
 Sandy Ridge      647      0.5      5.1       0.23        0.0      1.6       0.1       1.7       0%
 McMullen         630      0.5      5.1       0.23        0.0      1.4       0.1       1.4       0%
 Flippen          576      0.5      5.4       0.23        0.0      1.2       0.1       1.3       0%
 Lake Haven       598      0.5      5.3       0.23        0.0      1.2       0.1       1.2       0%
 Unity Grove      601      0.5      5.2       0.23        0.0      1.1       0.1       1.2       0%
 McDonough
                  537      0.5      5.4       0.23        0.0      0.8       0.0       0.9       0%
 Central
 Mt Bethel        576      0.5      5.0       0.23        0.0      0.7       0.1       0.8       0%
 Pleasant
                  555      0.5      5.2       0.23        0.0      0.7       0.1       0.8       0%
 Grove
 Austin Road      509      0.5      5.5       0.23        0.0      0.6       0.0       0.7       0%
 Shiloh           490      0.5      5.6       0.23        0.0      0.6       0.0       0.7       0%
 Lighthouse       527      0.5      5.2       0.23        0.0      0.6       0.0       0.6       0%
 Stockbridge
                  501      0.5      5.4       0.23        0.0      0.5       0.0       0.6       0%
 Central
 Tussahaw         540      0.5      5.0       0.23        0.0      0.5       0.0       0.6       0%
 Swan Lake        489      0.5      5.2       0.23        0.0      0.4       0.0       0.4       0%
 East Lake        480      0.5      5.1       0.23        0.0      0.3       0.0       0.4       0%
 Grove Park       437      0.5      5.2       0.23        0.0      0.2       0.0       0.3       0%
 Stagecoach       409      0.5      5.4       0.23        0.0      0.2       0.0       0.2       0%
 Dutchtown        371      0.5      5.3       0.23        0.0      0.1       0.0       0.2       0%
 McDonough        342      0.5      5.6       0.23        0.0      0.1       0.0       0.1       0%
 Timberridge      382      0.5      5.0       0.23        0.0      0.1       0.0       0.1       0%



           The results in Table 1 clearly show that there was almost no wait at all due to the check-in

or the scanning process. The bottleneck was at the BMDs, which causes voters to wait to cast their

votes. Among the 37 polling places, 28 polling places had an average wait of less than five minutes

and almost no one waited more than 30 minutes. Five polling places, including Lowes, North

Hampton, Mt Carmel, Red Oak, and Stockbridge East-West, were overloaded with an average wait

of over 28 minutes, where Lowes had over 2 hours average wait and North Hampton had nearly

1.5 hours long average wait. Note that these estimates are based on the assumption of stationary

arrivals of voters. The wait time could be even longer if the voter arrival process is nonstationary.



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       These results can be verified by looking at the public reports of what actually happened on

Election Day. As mentioned earlier, hours of wait were publicly reported at the Harvest Point

UMC in Lowes and Calvary Baptist Church in North Hampton. Over 20 minutes of wait were

reported at Red Oak United Methodist in Red Oak. In contrast, just as predicted by the M/M/c

queue system, no or short waiting lines were reported at Kelleytown, Lake Dow, Sandy Ridge,

McMullen, Oakland, Cotton Indian, and Unity Grove. The last voters at these polling places,

respectively, checked in at 7:07 p.m., 7:30 p.m., 7:16 p.m., 6:59 p.m., 6:59 p.m., 7:35 p.m., and

7:16 p.m. These polling places finished checking in all voters either before or not more than half

an hour later than the official closing time of 7 p.m. Thus, the results in Table 1 obtained by the

M/M/c queue system reasonably represent the reality on Election Day of the 2020 PPP in Henry

County and, as a result, provide valuable information about the cause of the bottlenecks in lines

and long wait times.

       As shown in Table 1, all of the polling places that had long waiting lines had a large number

(e.g., over 800) of voters on Election Day and long voting time (i.e., long ballot). As Queueing

Theory points out, a higher arrival rate and longer service time will result in longer wait time. For

polling places with a large number of voters and long voting time, to shorten the queue one should

allocate more voting machines at the bottleneck (i.e., BMDs) reducing wait times and avoiding

long lines. But this is not what Henry County did. Instead, it assigned six BMDs evenly to every

polling place regardless of the size of the precinct and the ballot length at the precinct. This

assignment of BMDs by Henry County election officials was clearly suboptimal. This seemingly

“equal” voting machine allocation created “unequal” wait times for voters at different polling

places. If Henry County election officials use the same allocation plan in the November General

Election or other future elections, it will create unequal wait times again for voters at different




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polling places.

            To demonstrate the impact that reallocating the voting machines can have, I ran the model

set out in Table 2. Table 2 demonstrates a different BMD allocation with the same total number of

222 BMDs. For example, Lowes should have 10 BMDs rather than six, and four BMDs would be

sufficient in Timberridge instead of six. Under this BMD allocation plan, the estimated average

wait time would be no more than four minutes long at any polling place in Henry County, less than

two minutes in half of the polling places, and no voter would have to wait for more than 30 minutes.

                         Table 2 Estimated Wait Lines at Polls in Henry County with a BMD re-allocation

                   # of     Check-in    Voting    Scanning     Wait at      #        Wait at    Wait at   Total   % Wait
 Precinct
                  Voters     Time       Time        Time       Check in    BMD       BMD        Scanner   Wait    30+ min
 Lowes            1018        0.5        5.88       0.23         0.1        10        1.7         0.1      1.9      0%
 North
                   821         0.5       5.74        0.23          0.0        8        2.0         0.1     2.1      0%
 Hampton
 Mt Carmel         910         0.5       5.90        0.23          0.1        9        1.9         0.1     2.1      0%
 Red Oak           830         0.5       5.61        0.23          0.0        8        1.7         0.1     1.9      0%
 Stockbridge
                   818         0.5       5.69        0.23          0.0        8        1.8         0.1     1.9      0%
 East-West
 Wesley
                   741         0.5       5.63        0.23          0.0        7        2.6         0.1     2.7      0%
 Lakes
 South
                   741         0.5       5.56        0.23          0.0        7        2.3         0.1     2.4      0%
 Hampton
 Locust Grove      729         0.5       5.54        0.23          0.0        7        1.9         0.1     2.1      0%
 Hickory Flat      731         0.5       5.60        0.23          0.0        7        1.6         0.1     1.7      0%
 Ellenwood         699         0.5       5.39        0.23          0.0        7        1.2         0.1     1.3      0%
 Westside          632         0.5       5.82        0.23          0.0        7        1.1         0.1     1.2      0%
 Pates Creek       668         0.5       5.53        0.23          0.0        7        1.0         0.1     1.1      0%
 Shakerag          660         0.5       5.38        0.23          0.0        6        2.8         0.1     2.9      0%
 Lake Dow          678         0.5       5.22        0.23          0.0        6        2.7         0.1     2.8      0%
 Oakland           640         0.5       5.49        0.23          0.0        6        2.7         0.1     2.7      0%
 Cotton Indian     637         0.5       5.36        0.23          0.0        6        2.1         0.1     2.2      0%
 Kelleytown        680         0.5       5.04        0.23          0.0        6        2.0         0.1     2.1      0%
 Sandy Ridge       647         0.5       5.10        0.23          0.0        6        1.6         0.1     1.7      0%
 McMullen          630         0.5       5.10        0.23          0.0        6        1.4         0.1     1.4      0%
 Flippen           576         0.5       5.43        0.23          0.0        6        1.2         0.1     1.3      0%
 Lake Haven        598         0.5       5.28        0.23          0.0        6        1.3         0.1     1.3      0%
 Unity Grove       601         0.5       5.16        0.23          0.0        6        1.1         0.1     1.2      0%
 McDonough
                   537         0.5       5.43        0.23          0.0        5        3.3         0.0     3.3      0%
 Central
 Mt Bethel         576         0.5       5.02        0.23          0.0        5        2.9         0.1     2.9      0%
 Pleasant
                   555         0.5       5.15        0.23          0.0        5        2.7         0.1     2.8      0%
 Grove



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 Austin Road      509         0.5       5.46        0.23          0.0        5           2.4         0.0       2.5   0%
 Shiloh           490         0.5       5.57        0.23          0.0        5           2.2         0.0       2.2   0%
 Lighthouse       527         0.5       5.22        0.23          0.0        5           2.1         0.0       2.2   0%
 Stockbridge
                  501         0.5       5.39        0.23          0.0        5           2.0         0.0       2.1   0%
 Central
 Tussahaw         540         0.5       5.01        0.23          0.0        5           1.9         0.0       1.9   0%
 Swan Lake        489         0.5       5.20        0.23          0.0        5           1.4         0.0       1.4   0%
 East Lake        480         0.5       5.09        0.23          0.0        5           1.1         0.0       1.2   0%
 Grove Park       437         0.5       5.16        0.23          0.0        4           3.4         0.0       3.4   0%
 Stagecoach       409         0.5       5.36        0.23          0.0        4           3.0         0.0       3.0   0%
 Dutchtown        371         0.5       5.34        0.23          0.0        4           1.8         0.0       1.8   0%
 McDonough        342         0.5       5.58        0.23          0.0        4           1.5         0.0       1.6   0%
 Timberridge      382         0.5       5.04        0.23          0.0        4           1.5         0.0       1.5   0%



                              Reviewing the Athens-Clarke County 2020 PPP

          Athens-Clarke County has 24 polling places on Election Day of the 2020 June Election.

All polling places opened from 7 a.m. to 7 p.m. Table 3 displays the voting machine allocation at

each polling place. On average, a polling place was assigned with 5 poll pads and 9 BMDs.

Because the allocation of scanners to polling places is unknown to me, I assume one scanner was

allocated at each polling place. If the actual number of scanners at polls is more than one, the

estimated wait time at scanners would be shorter than the ones in my following analysis.

               Table 3 # of Voting Machines Allocated at Polling Places in Athens-Clarke County on June 9, 2020

               County                    Polling Place                  # of Poll Pads    # of BMD    # Scanner
                  2B      2B HOWARD B STROUD ELEMENTARY                       8                16          1
                  4B      4B MEMORIAL PARK                                    6                12          1
                  2A      2A JJ HARRIS ELEMENTARY                             6                12          1
                  8C      8C FIRE STATION #7                                  6                12          1
                  6B      6B GEORGIA SQUARE MALL                              6                12          1
                  3B      3B THOMAS N. LAY PARK                               6                14          1
                  6A      6A CLEVELAND ROAD ELEMENTARY                        6                10          1
                  5A      5A OGLETHROPE AVENUE ELE SCH                        4                8           1
                  6C      6C TIMOTHY RD SCHOOL                                6                10          1
                  1B      1B ACC TENNIS CENTER                                6                12          1
                  8A      8A GAINES ELEM SCHOOL                               6                10          1
                  5D      5D ACC FLEET MAINTENANCE BLDG                       4                8           1




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                7A    7A UNITARIAN UNIVERSALIST FELLOWSHIP         6          8         1
                1A    1A WINTERVILLE                               3          8         1
                5B    5B WHITEHEAD RD ELE SCH                      4          8         1
                5C    5C CHASE STREET ELEMENTARY                   3          6         1
                1D    1D WHIT DAVIS ELEMENTARY                     3          8         1
                7B    7B ATHENS REGIONAL LIBRARY                   6          8         1
                7C    7C FIRE STATION #3                           6          8         1
                1C    1C BARNETT SHOALS SCHOOL                     3          6         1
                3A    3A CLARKE CENTRAL HIGH                       3          8         1
                6D    6D FIRE STATION #4                           3          6         1
                8B    8B CEDAR SHOALS HIGH SCHOOL                  3          6         1
                4A    4A ATHENS TRANSIT                            3          6         1



        The number of voters at a polling place on Election Day in Athens-Clarke County ranged

from 187 (4A) to 497 (2B), with an average of 356.

        The ballot length varies precinct by precinct. The Republican ballot had 24 to 30 races and

29 to 41 choices, and the Democratic ballot had 31 to 36 races and 59 to 66 choices. Precinct 4A

Athens Transit had one of the longest ballots, where the Republican ballot had 30 races and 37

choices, and the Democratic ballot had 36 races and 66 choices.

        All polling places checked in their last voters before or soon after 7 p.m, where the latest

voter checked in at 7:04 p.m. at 1B ACC Tennis Center.

        According to the available public information, Athens-Clarke County experienced a
                                           20
smooth day at local polling places.             Voters had only minimal waits to cast ballots in Clarke

County Tuesday morning, with a steady but light stream of voters, and no long lines were

seen. 21Table 4 displays the estimated average wait time and the percentage of voters who waited

for at least 30 minutes at each polling place on Election Day of the 2020 June Election, using the



20
  https://www.onlineathens.com/photogallery/GA/20200610/PHOTOGALLERY/610009999/PH/1.
21
  https://www.newsbreak.com/georgia/athens/news/1581000369138/as-some-georgia-counties-hit-voting-snags-
athens-clarke-polling-places-see-smooth-election-day.


                                                       23
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M/M/c queue formula. The average voting time at each polling place is estimated using the

regression model in Jaffe et al. (2018). As noted in Jaffe et al. (2018), I use the upper end of the

95% confidence interval as the average voting time at each polling place as listed in Table 4.

                 Table 4 Estimated Wait Lines at Polls in Athens-Clarke County on 2020 June Election Day

  Precinct /            Check-in     Voting      Scanning       Wait at      Wait at     Wait at       Total
                # of                                                                                           % Wait
   Polling               Time        Time          Time         Check in     BMD         Scanner       Wait
               Voters                                                                                          30+ min
    Place                (min)       (min)        (min)          (min)       (min)        (min)        (min)
 2B             497       0.5         5.4          0.23           0.0         0.00         0.04         0.04     0%
 4B             480        0.5         5.4          0.23          0.0         0.00         0.04        0.04      0%
 2A             435        0.5         5.3          0.23          0.0         0.00         0.04        0.04      0%
 8C             428        0.5         5.3          0.23          0.0         0.00         0.04        0.04      0%
 6B             418        0.5         5.2          0.23          0.0         0.00         0.04        0.04      0%
 3B             412        0.5         5.4          0.23          0.0         0.00         0.04        0.04      0%
 6A             412        0.5         5.0          0.23          0.0         0.00         0.04        0.04      0%
 5A             396        0.5         5.0          0.23          0.0         0.01         0.03        0.04      0%
 6C             387        0.5         5.0          0.23          0.0         0.00         0.03        0.03      0%
 1B             370        0.5         5.3          0.23          0.0         0.00         0.03        0.03      0%
 8A             367        0.5         5.2          0.23          0.0         0.00         0.03        0.03      0%
 5D             359        0.5         5.3          0.23          0.0         0.01         0.03        0.04      0%
 7A             352        0.5         5.1          0.23          0.0         0.00         0.03        0.03      0%
 1A             351        0.5         5.2          0.23          0.0         0.00         0.03        0.03      0%
 5B             346        0.5         5.1          0.23          0.0         0.00         0.03        0.03      0%
 5C             340        0.5         5.2          0.23          0.0         0.07         0.03        0.10      0%
 1D             330        0.5         4.9          0.23          0.0         0.00         0.03        0.03      0%
 7B             306        0.5         5.1          0.23          0.0         0.00         0.03        0.03      0%
 7C             306        0.5         5.1          0.23          0.0         0.00         0.03        0.03      0%
 1C             294        0.5         5.0          0.23          0.0         0.03         0.02        0.05      0%
 3A             280        0.5         5.2          0.23          0.0         0.00         0.02        0.02      0%
 6D             267        0.5         5.1          0.23          0.0         0.02         0.02        0.04      0%
 8B             232        0.5         5.2          0.23          0.0         0.01         0.02        0.03      0%
 4A             187        0.5         5.6          0.23          0.0         0.00         0.02        0.02      0%



        The results in Table 4 clearly show that there was almost no wait at all. Because the number

of BMDs was abundant, the bottleneck was at the scanner at most polling places (if one scanner

was assigned at a polling place). As mentioned earlier, voters in Athens-Clarke County had

minimal waits to cast ballots and no long lines were seen at polls. Therefore, I believe that the

results in Table 4 obtained by the M/M/c queue system reasonably represent the reality on Election


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Day of the 2020 June Election.

       As compared to Henry County, Athens-Clarke County has smaller polling places in terms

of the number of voters on Election Day, and has shorter ballots, which results in shorter voting

time. Moreover, Athens-Clarke County has relatively more voting machines than Henry County.

Athens-Clarke County had 9 BMDs per polling place on average, while Henry County had 6

BMDs per polling place. As Queueing Theory points out, lower arrival rate, shorter service time,

and more servers will result in shorter wait time. This is why Athens-Clarke County had a smooth

Election Day on June 9.

       In fact, Athens-Clarke County had more than sufficient voting machines than the minimal

requirement to avoid long lines. In other words, Athens-Clarke County has more of a buffer to

avoid long lines from unexpected circumstances, such as machine failures, and higher than

expected turnout. Table 5 shows the minimal number of voting machines needed to have less than

1-minute average wait at each polling place in Athens-Clarke County. In this allocation, a total of

112 BMDs are used, only 50% of the 222 BMDs used in June election. In other words, if on

average 50% of BMDs were not working properly using the current allocation plan by election

officials, the average wait time at the polls would still be short. For example, if 6 out of the 8 poll

pads and 10 out of the 16 BMDs were not working at Precinct 2B, the average wait time at 2B

would still be less than 1 minute long. This result demonstrates the sufficient buffer that Athens-

Clarke County has to hedge against long lines.




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                      Table 5 Estimated Wait Lines at Polls in Athens-Clarke County on 2020 June Election Day

 Precinct                Voting                                        Wait at    Wait at    Wait at      Total
              # of                   # Poll     #           #                                                     % Wait
 / Polling               Time                                          Check      BMD        Scanner      Wait
             Voters                  Pads      BMDs      Scanners                                                 30+ min
   Place                 (min)                                        in (min)    (min)       (min)       (min)
   2B         497         5.4          2          6          1           0.0       0.54        0.04        0.60     0%
   4B         480         5.4          2          6          1           0.0        0.45       0.04        0.51     0%
   2A         435         5.3          2          5          1           0.0        0.88       0.04        0.93     0%
   8C         428         5.3          2          5          1           0.0        0.83       0.04        0.88     0%
   6B         418         5.2          2          5          1           0.0        0.60       0.04        0.65     0%
   3B         412         5.4          2          5          1           0.0        0.73       0.04        0.78     0%
   6A         412         5.0          2          5          1           0.0        0.45       0.04        0.50     0%
   5A         396         5.0          2          5          1           0.0        0.41       0.03        0.45     0%
   6C         387         5.0          2          5          1           0.0        0.37       0.03        0.41     0%
   1B         370         5.3          2          5          1           0.0        0.40       0.03        0.44     0%
   8A         367         5.2          2          5          1           0.0        0.37       0.03        0.41     0%
   5D         359         5.3          2          5          1           0.0        0.34       0.03        0.38     0%
   7A         352         5.1          2          5          1           0.0        0.27       0.03        0.31     0%
   1A         351         5.2          2          5          1           0.0        0.28       0.03        0.32     0%
   5B         346         5.1          2          4          1           0.0        0.98       0.03        1.02     0%
   5C         340         5.2          2          5          1           0.0        0.26       0.03        0.29     0%
   1D         330         4.9          2          4          1           0.0        0.68       0.03        0.71     0%
   7B         306         5.1          2          4          1           0.0        0.60       0.03        0.63     0%
   7C         306         5.1          2          4          1           0.0        0.60       0.03        0.63     0%
   1C         294         5.0          2          4          1           0.0        0.48       0.02        0.51     0%
   3A         280         5.2          2          4          1           0.0        0.48       0.02        0.51     0%
   6D         267         5.1          2          4          1           0.0        0.37       0.02        0.40     0%
   8B         232         5.2          2          4          1           0.0        0.23       0.02        0.25     0%
   4A         187         5.6          2          3          1           0.0        0.80       0.02        0.81     0%



                             Reviewing Fulton County’s 2020 PPP Experience

         Fulton County had 165 polling places on Election Day of the 2020 PPP. All polling places

were opened from 7 a.m. to 9 p.m., pursuant to court orders. The consolidation of multiple

precincts into a single polling place created many large polling locations with over a thousand

voters on Election Day. For example, Park Tavern had the most registered voters (15,922) and the

most Election Day voters (2,305), Morningside Baptist Church Gym had the second highest

number of Election Day voters with 1,756, and Cathedral of Saint Philip had 1,580 voters on

Election Day, the third highest in Fulton County. All three polling places served multiple precincts:


                                                             26
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Park Tavern served five precincts, including 02A, 02L1, 02J, 02K and 06G; Morningside Baptist

Church served precincts 06D and 06E; and Cathedral of Saint Philip served precincts 07F, 07M,

08G and 08L. The consolidation of multiple precincts also resulted in wide differences in terms of

the number of Election Day voters across polling places. For example, the number of voters at a

polling place on Election Day in Fulton County ranged from 7 (Aviation Community Cultural

Center) to 2,305 (Park Tavern). Aviation Community Cultural Center only served one precinct,

FC02, but Park Tavern served five precincts.

           As in Henry County, the ballot length in Fulton County varied precinct by precinct. The

Republican ballot had 37 to 41 races and 49 to 57 choices, with the average of 39 and 53; and the

Democratic ballot had 47 to 50 races and 86 to 98 choices, with the average of 49 and 91. Precinct

02L1, the largest in Park Tavern, had one of the longest ballots, where the Republican ballot had

39 races and 52 choices, and the Democratic ballot had 49 races and 95 choices. Overall, the ballot

length was significantly longer in Fulton County than in Henry County.

           Eleven polling places checked in their last voters before 7 p.m.; 28 polling places checked

in their last voters between 7 p.m. and 8 p.m.; 88 polling places checked in their last voters between

8 p.m. and 9 p.m.; 32 polling places checked in their last voters between 9 p.m. and 10 p.m.; and

8 polling places checked in their last voters after 10 p.m., where the last voter checked in at 0:21

a.m. the next day at Christian City Welcome Center.

           Long voting lines and other problems were reported at polling places in Fulton County.

For example, at least 300 voters were in line before the polling location even opened at Park Tavern

(02A & 02L1 & 02J & 02K & 06G) and the line stayed long late into the day, with some voters

waiting at least four hours to vote. 22 There was about 4.5 hour waits for some voters to vote



22
     https://georgiarecorder.com/2020/06/09/long-lines-reported-across-metro-atlanta-as-voters-head-to-the-polls/.


                                                           27
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because the voting machines were not working at Central Park Recreation Center (02C & 02F1/2

& 05F). More than three-hour lines were experienced by some voters at Butler Street Baptist

Church (02D & 05J & 06F) in Old Fourth Ward. Voters also had to wait for 4.5 hours to vote at

Lang-Carson Community Center (05A1/2). Some voters had to wait over two hours to vote at the

Cathedral of St. Philip (07F & 07M & 08G & 08L). A nearly 4-hour wait was reported at Parkside

Elementary School (01A).

                            Table 6 Characteristics of Polling Places with reported long lines

               Polling Place              # of Voters        REP Ballot Length               DEM Ballot Length
                                                          # of Races # of Choices         # of Races # of Choices
      Park Tavern                            2305             39          49                  52          95
      Cathedral of St. Philip                1580             39          52                  48          90
      Lang-Carson Community Center           1199             38          51                  48          89
      Butler Street Baptist Church           1180             39          52                  49          91
      Central Park Recreation Center         906              39          52                  49          91
      Parkside Elementary School             840              38          51                  48          89



        Table 6 shows the characteristics of the polling places where long lines were reported. They

were all large polling places in terms of the total number of Election Day voters (i.e., over 800).

And the ballot length at these places were at the average level in Fulton County. Fulton County

has more than 3,324 BMDs and 165 polling places, about 20 (=3324/165) BMDs per polling

place. 23 The average number of voters on Election Day was 660 at a polling place in Fulton

County. Based on common sense and the basics of queueing theory, a polling place with more

voters should have more voting machines. For instance, those polling places, listed in Table 6,

which had about 30% to 250% more than the average number of voters at a polling place, should

have received more, if not much more, than 20 BMDs. Park Tavern had 15 to 20 BMDs. 24 Park

Tavern had 2,305 voters on Election Day, more than 3 times as many as an average polling place,


23
   https://www.ajc.com/news/state--regional-govt--politics/georgia-hurries-deliver-new-voting-machines-time-for-
election/sjrPB5ZPbaBoO3ONBGqKgK/.
24
   https://www.nytimes.com/2020/07/25/us/politics/georgia-election-voting-problems.html.


                                                           28
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but it only received up to the average number of BMDs. Clearly, the election officials did not

properly consider the number of voters when allocating BMDs. Large polling places, such as Park

Tavern, did not receive sufficient number (or fair share) of voting machines, which caused long

lines at those locations on Election Day of the 2020 PPP. If election officials use the same method

without properly considering the number of voters at polls to allocation BMDs for the 2020

General Election or future elections, Fulton County would be very likely to repeat the long lines

at large polling places, such as Park Tavern.

        In the following analysis, I build a simulation model to further study the voting lines at

Park Tavern to demonstrate that insufficient number of working BMDs causes long lines at large

polling places. The simulation model will capture more complex queue characteristics (such as

pre-loaded queue and machine failures) at Park Tavern than queue formula and provides a better

approximation to the reality that voters experienced on Election Day. However, only partial

information about how the Park Tavern polling location operated is available. Thus, the simulation

model could not fully replicate the reality at Park Tavern, but it will be reasonably good to draw

conclusions.

        Based on an article published in the New York Times, the number of BMDs at Park Tavern

was between15 and 20. 25 The specific number of BMDs is unknown to me; and the polling place

had one scanner. 26 The number of poll pads at Park Tavern is unknown to me. Based on a GPB

News reporter, there were two separate check-in lines at Park Tavern. 27 One is for voters from

precincts 02A and 02L1, and the other is for voters from precincts 02J, 02K, and 06G. The GPB

News data set shows that a maximum of 90 voters were checked in an hour at the line for precincts



25
   https://www.nytimes.com/2020/07/25/us/politics/georgia-election-voting-problems.html.
26
   https://www.nytimes.com/2020/07/25/us/politics/georgia-election-voting-problems.html.
27
   https://twitter.com/Ada_Wood/status/1270333260657307649.


                                                      29
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02J, 02K, and 06G, and a maximum of 161 voters were checked in an hour at the line for precincts

02A and 02L1. Using my previous assumption on the average check-in time of 30 seconds, a

minimum number of 1 poll pad is needed for the precincts 02J, 02K, and 06G line, and a minimum

number of 2 poll pads is needed for the precincts 02A and 02L1 line. In general, two poll pads are

needed for each check-in line in case one breaks down. Thus, I assume that four poll pads were

used at Park Tavern, two for each check-in line. As the GPB News reporter noted, most voters are

unaware of the two-line situation and some are unsure which line to get in. 28 Thus, for simplicity,

I assume that any voter can be checked in by any of the four poll pads in the simulation model.

This assumption might underestimate the wait time at the check-in stations because of the effect

of resource pooling. 29 Additionally, if voters could not be checked in at any station, they would

have had to engage in a conversation with poll workers to determine the appropriate check-in

station to move to.

         Due to Covid-19 and limited space inside the polling place, voters could not be checked in

when the polling location was full inside, even if the poll pads were available to check in the next

voters. Thus, the bottleneck that formed at the BMDs would determine how many voters could be

checked in per hour. As such, the actual number of checked-in voters per hour can be considered

as the throughput rate of the voting system at Park Tavern. The GPB News data set shows that

during the first hour, from 7 a.m. to 8 a.m., only 62 voters were checked in, and 159 voters were

checked in from 8 a.m. to 9 a.m. As noted earlier, at least 300 voters were in line before 7 a.m. at

Park Tavern. Thus, we can infer that the idle time of BMDs were minimal to none from 7 a.m. to




28
  https://twitter.com/Ada_Wood/status/1270333260657307649.
29
  It is well known that resource pooling can significantly improve queue performance. For literature, see Tsitsiklis
and Xu (2012), https://pubsonline.informs.org/doi/10.1287/11-SSY033.


                                                         30
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9 a.m. These two numbers can be considered as the number of voters that voted per hour of the

time periods.

        The upper end of the 95% confidence interval of the average voting time at Park Tavern

estimated using the regression model in Jaffe et al. (2018) based on the ballot length is 7.04

minutes. 30 Using this number, we can estimate the number of BMDs used at Park Tavern.

Considering that over 300 voters were waiting in line at 7 a.m., the fact that only 62 voters were

checked-in from 7 a.m. to 8 a.m. indicates that not all voting machines were working in the first

opening hour. A news article reporting that some voting machines “went dark” confirms my

inference. 31 If a voter spent 7.04 minutes on BMDs, then 7 (= 62 × 7.04/60) BMDs were

working from 7 a.m. to 8 a.m., and 19 (= 159 × 7.04/60) were working from 7 a.m. to 8 a.m.

Thus, the simulation model assumes that 7 working BMDs from 7 a.m. to 8 a.m. and 19 BMDs

working from 8 a.m. to the end of the day. This assumption is consistent with the observations at

Park Tavern, i.e., the number of BMDs at Park Tavern was between15 and 20. 32 The simulation

model also assumes that all voters at this poll share the BMDs, and no BMDs are dedicated to

voters from a specific precinct. 33

        As mentioned earlier, at least 300 voters were observed standing in line before 7 a.m. at

Park Tavern and the line stayed long late into the day. 34 Thus 300 voters are assumed to arrive

before 7 a.m. in the simulation model; and throughout the day from 7 a.m. to 9 p.m., voter arrivals




30
   The computation details are in the Excel file submitted with this report.
31
   https://www.adn.com/nation-world/2020/06/09/long-lines-snarl-voting-in-georgia-primary-elections-beset-by-
pandemic-complications/.
32
   https://www.nytimes.com/2020/07/25/us/politics/georgia-election-voting-problems.html.
33
   Because the actual operation at Park Tavern is unknown, I choose the conservative assumption. If BMDs were not
shared among all voters at Park Tavern in reality, the average wait time estimated with the BMD-sharing assumption
would be shorter than the actual wait.
34
   https://georgiarecorder.com/2020/06/09/long-lines-reported-across-metro-atlanta-as-voters-head-to-the-polls/.


                                                       31
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are assumed to follow a stationary Poisson distribution 35 with a mean of 143.2 36 voters per hour,

and no new voters were allowed to arrive after 9 p.m. The check-in time is assumed to follow an

exponential distribution with a mean of 30 seconds, and the scanning time is assumed to follow an

exponential distribution with a mean of 14 seconds.

         Table 7 displays the simulated waiting lines at Park Tavern using the above assumptions.

Each number is an average over 100 simulation replications. Each replication is a realization of an

Election Day. According to the GPB News data set, the last voter checked in at Park Tavern at

9:54 p.m. According to the GPB News reporter, 37 there were 356 voters standing in line around 9

a.m. Some voters were reported waiting 4 hours to cast ballot. 38 The simulated last checked-in

time is 9:39 p.m., the simulated queue length at 9 a.m. is 345, and the simulated average longest

wait is 2.5 hours. Comparing the simulated queue performances with the actual observations, I

believe the simulation model reasonably approximates the reality at Park Tavern, but

underestimates the worst wait time at Park Tavern. This is likely due to the conservative

assumptions used in the model as described above, such as the stationary arrival after 7 a.m. and

sharing poll pads.

         According to the simulation results, on Election Day in the 2020 PPP at Park Tavern, the

average voter’s wait time was about 93 minutes and over 80% voters waited longer than an hour

to cast their ballot. Note that these results may underestimate the actual wait times at Park Tavern.




35
   Poisson distribution is commonly used probability distribution to describe the arrival process in queueing analysis,
especially when the information about the arrival process is limited. For example, Poisson distribution is used in
M/M/c queue. “Stationary” means the average hourly arrival rate is constant. In reality, the arrival process is likely
to be non-stationary. Non-stationary process tends to cause longer wait time. Thus, the stationary assumption is
conservative here. The wait time is likely to be underestimated under the stationary assumption.
36
   As in Table 3, 2305 voters voted at Park Tavern. So Considering 300 voters already arrived before 7 a.m., the rest
voters would arrive with an hourly rate of (2305-300)/14=143.2 from 7 a.m. to 9 p.m.
37
   https://twitter.com/Ada_Wood/status/1270341769453076483.
38
   https://georgiarecorder.com/2020/06/09/long-lines-reported-across-metro-atlanta-as-voters-head-to-the-polls/.


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                                   Table 7 Simulated Queue Performances for Park Tavern

                                               Avg         Avg        Avg
 Check-in       Voting    Scanning                                            % Wait                  Queue         Last
                                       #      Wait at     Total       Max                 % Wait
  Time          Time        Time                                               30+                   length at   checked-
                                      BMD     BMD         Wait       Wait                 60+ min
  (min)         (min)      (min)                                               min                    9 a.m.      in time
                                              (min)       (min)      (min)
      0.5        7.04       0.23       19       87          93        147       95%        83%         345       9:39 p.m.



            Table 8 shows the simulated queue performance at Park Tavern if all voting machines had

been working properly at Park Tavern at 7 a.m. when the polls opened. If all 19 BMDs were

working at the time the polls opened, the average wait time would have been reduced to 56

minutes, about 40% shorter; and 807 (= (83% − 48%) × 2305) fewer voters at Park Tavern

would have had to wait more than an hour to vote. All voters could have been checked in soon

after 9:00 p.m., about half an hour earlier. There would have been about 250 voters waiting in line

at 9 a.m., making the line nearly 100 voters shorter.

                         Table 8 Simulated Queue Performances for Park Tavern if All Machines Work

                                               Avg         Avg        Avg
 Check-in       Voting    Scanning                                            % Wait                  Queue         Last
                                       #      Wait at     Total       Max                 % Wait
  Time          Time        Time                                               30+                   length at   checked-
                                      BMD     BMD         Wait       Wait                 60+ min
  (min)         (min)      (min)                                               min                    9 a.m.      in time
                                              (min)       (min)      (min)
      0.5        7.04       0.23       19       49          56        110       76%        48%         247       9:08 p.m.



            This result demonstrates the significant negative impact of the machine breakdowns on

waiting times, which can be caused by either technical errors or human errors. In other words,

well-trained election officials or technicians, who are familiar with the new voting system and the

voting process, can quickly solve or avoid the problems related to voting machines, so that the

machine’s down time can remain low. Unfortunately, on June 9, many election workers were not

well trained because many experienced poll workers canceled due to their concerns of COVID-

19.

            On the other hand, even if all machines could work properly all the time and election

officials were well trained, clearly, 19 BMDs were not enough to meet the Election Day demand


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in Park Tavern as the average wait time would only have been reduced to slightly under an hour,

meaning that most voters would still be waiting to vote longer than 30 minutes. Suppose our goals

are (1) to check in all 2,305 voters by 7 p.m. with no need to extend the voting hours at Park

Tavern, and (2) to make over 90% of voters waiting less than 30 minutes to vote, we could use the

simulation model to find out how many voting machines, including poll pads, BMDs, and

scanners, should be allocated at Park Tavern. The simulation model keeps all input parameters the

same as mentioned earlier, including 300 voters arriving before 7 a.m., except that this time all

voters would arrive before 7 p.m., no new voters would be allowed to enter after 7 p.m., and all

machines are 100% available. Table 9 shows two feasible voting machine allocations to meet the

above goals if the average voting time is 7.04 minutes, both of which contemplate 38-39 BMDs

and at least 2 scanners.

                      Table 9 Recommended Number of Voting Machines Allocated to Park Tavern

 Voting Time   # of Poll                       # of           Wait at     Total Wait    % Wait 30+       Last
                             # of BMDs
    (min)        Pads                        Scanners        BMD (min)      (min)          min       checked-in
                   6             38             2              4.1           6.3          9.98%       6:54 p.m.
    7.04
                  5              39              2              3.3          6.0           9.3%      6:53 p.m.



        However, in reality, only 15 to 20 of BMDs and one scanner were used at Park Tavern.

The number of BMDs was just a half of what is needed to avoid long voting lines and long poll

opening hours. This result shows that poor allocation of voting machines caused the long lines at

Park Tavern on June 9, 2020. Clearly, election officials substantially underestimated the number

of BMDs needed at Park Tavern. If election officials continue to underestimate the necessary

voting machines in the November General Election, it will create long wait times again for voters

at Park Tavern.

        Consolidation of multiple precincts into single polling places creates large polling places

in terms of the total number of voters voting in a polling location (e.g. 800+ Election Day voters).


                                                        34
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Large polling locations need more voting resources (including voting machines and election

officials) and large facilities to accommodate these voters. If the voting resources are in sufficient,

as a result, voting lines and waiting times can easily get very long. My analysis demonstrates that

Park Tavern is such large consolidated polling location, where lines were extremely long due to

insufficient allocation of voting machines and other election resources (such as experienced poll

workers and technicians to address issues as they arose, keeping at least the minimal number of

machines on-line).

         While my analysis above is limited to Park Tavern because I was able to collect data for

that polling location, if I had similar data for the other polling locations in Fulton County, including

those that exhibited long lines, I could perform the equivalent analysis and demonstrate how even

with extremely large polling locations, Fulton Counties long voting lines could be reduced.

                 Reviewing the 2020 PPP Election at Lithia High in Douglas County

         I use the same simulation model as in above to approximate to the actual queue at Lithia

High. According to the GPB News data set, a total of 828 voters checked in at Lithia High on

Election Day. The polls were scheduled to open from 7 a.m. to 7 p.m., but were later ordered to

stay open until 8:45 p.m. The GPB News data set shows that 31 voters were checked in after 7

p.m. and the last voter was checked in at 7:21 p.m. The arrival rate in the simulation model is

assumed to be 69 (=828/12) voters per hour during the opening hours and no voters entered the

polling location after 7 p.m. 39

         As reported, none of the machines were working when the polls were supposed to open at

7 a.m. at the Lithia Springs High School polling location in Douglas County due to “software



39
  This approach might slightly overestimate the average arrival rate per hour, because it assumes the last 31 voters
arrived at the poll before 7 p.m. Actually, it is likely that some of the 31 voters arrived at the poll between 7 p.m. and
7:21 p.m. because the polling location technically stayed open until 8:45 p.m.


                                                           35
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errors.” Around 8:30 a.m., only 5 out of the 10 machines were working. Thus, the simulation model

assumes that no BMDs were working from 7:00 a.m. to 8:30 a.m.; 5 BMDs were working from

8:30 a.m. to 10:00 a.m.; and 10 BMDs were working from 10:00 a.m. to the end of the day.

           As noted earlier, the actual number of checked-in voters per hour can be considered as the

throughput rate of the voting system. The actual number of checked-in voters per hour at Lithia

High showed that an average of 79 voters were checked in per hour from 10:00 a.m. to 7:00 p.m.,

which is the time period that I assume all machines were working properly. Therefore, the average

time to cast a ballot is assumed to be 7.6 (=60/79*10) minutes in the simulation model. 40 The other

assumptions on inputs to the simulation model remain the same. Table 10 displays the simulated

waiting lines at Lithia High using the above assumptions. Each number is the average over 100

simulation replications. Each replication is a realization of an Election Day.

           According to the simulation results in Table 10, on June 9 at Lithia High, the last voter

checked in at 7:30 p.m. and the average longest wait time is 2.1 hours. According to the GPB News

data set, the last voter checked in at Lithia High at 7:21 p.m.; and some voters who arrived at 7:10

a.m. waited over two hours to vote. 41 Thus, I believe that the simulation model reasonably

approximates the reality at Lithia High on Election Day.

           My simulation results show that the average voter’s wait time is about 81 minutes and

about 91% voters waited longer than 30 minutes to cast their ballot at Lithia High.

                               Table 10 Simulated Queue Performances for Lithia High

     Check-in    Voting    Scanning                   Wait at                                            Last
                                        Max #                     Total Wait    % Wait    Max Wait
      Time       Time        Time                     BMD                                            checked-in
                                        BMD                         (min)       30+ min    (hour)
      (min)      (min)      (min)                     (min)                                             time
       0.5        7.6        0.23         10           81             81          91%       2.1       7:30 p.m.



40
   This approach assumes that all BMDs were busy between 10 a.m. and 7 p.m. Actually, it is possible that some
BMDs were staying idle at some point in time simply because fewer voters than BMDs were at the polls or no voter
waits in line. Thus, the estimated voting time using this approach might overestimate the actual voting time.
41
   https://www.11alive.com/article/news/politics/georgia-voting-primary-2020-real-time-updates/85-a064e522-1ace-
450b-8d70-7c8c60a52bf9.


                                                       36
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           Table 11 shows the simulated queue performance at Lithia High if all voting machines

were working properly at7 a.m. If all machines were working when the polling location opened,

the average wait time would be reduced to about 3 minutes; no voters would have to wait more

than half an hour to vote; and all voters could be checked in before 7 p.m.

                    Table 11 Simulated Queue Performances for Lithia High if All machines Work since Opening

     Check-in     Voting     Scanning                     Wait at                                                  Last
                                            Max #                     Total Wait     % Wait       Max Wait
      Time        Time         Time                       BMD                                                  checked-in
                                            BMD                         (min)        30+ min       (hour)
      (min)       (min)       (min)                       (min)                                                   time
       0.5         7.6         0.23           10           3.0           3.1           0%           0.28        6:57 p.m.



           This result demonstrates the significant negative impact of machine breakdowns on waiting

times. If all machines were working properly, 10 BMDs would have been sufficient to ensure short

waiting lines and smooth voting experience for voters. The machine allocation plan was good for

Lithia High. However, the machine breakdowns, either due to technical or human errors, at Lithia

High caused hour-long lines for voters in reality. Thus, it is vital for election officials to prepare

for potential machine failures at polls. If voting machines break down, election officials could use

paper ballots to ensure that voting continues and the queue continues to move.

                Reviewing the 2020 PPP Election at Salvation Army in Chatham County

           I use the same simulation model as used above to approximate to the actual queue at the

Salvation Army polling location. According to the GPB News data set, there were total of 440

voters checked in at Salvation Army on Election Day. The poll was scheduled to be open at 7:00

a.m. but the voting machines were not up and running by then, which resulted in voters lining up

to vote. It is reported that by 12:30 p.m. 42 there was no line to vote at the polling location.



42
  https://www.savannahnow.com/news/20200609/live-updates-georgia-primary-2020-in-chatham-county-what-you-
need-to-know.


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Therefore, we can assume that the long lines were cleared by 12:30 p.m. and the lines were not

long from that point until the end of the day.

        The GPB News data shows that 185 voters were checked in from 7 a.m. to 1 p.m. and 255

voters were checked in from 1 p.m. to the end of the day. Thus, the arrival rate in the simulation

model is assumed to be 30.83 (=185/6) voters per hour between 7 a.m. and 1 p.m., and 42.5

(=255/6) voters per hour between 1 p.m. and 7 p.m., but no voters were allowed to enter the polling

location after 7 p.m. As reported, at the Salvation Army in Douglas County, none of the machines

were working from 7 a.m. until about 8:11 a.m., when the first ballot cast. 43 From that point on,

only two or three machines were working. By about 9:30 a.m., 6 of fourteen machines were

working. Although 14 voting machines were allocated to use at the polling location, the room did

not have the infrastructure (e.g., wall plugs, extension cords) to allow all machine running at the

same time.

        As noted earlier, the actual number of checked-in voters per hour can be considered as the

throughput rate of the voting system. According to the observations of the actual queue, there were

waiting lines between 8:10 and 9:00 a.m. and the first voter voted at 8:11 a.m. so we can infer that

all working BMDs were being used all the time between 8:10 a.m. and 9:00 a.m. According to

GPB News data set, 23 voters were checked in between 8 a.m. and 9 a.m. Thus, the average time

to cast a ballot can be 7.69 (=50/23*2) minutes if 2 BMDs were working or 11.5 (=50/23*2)

minutes if 3 BMDs were working. Based on the previous estimated voting time at other counties,

11.5 minutes seems too long, and 7.69 minutes is more consistent with previous results.

        Thus, the simulation model assumes that no BMDs were working from 7:00 a.m. to 8:10

a.m.; 2 BMDs were working from 8:10 a.m. to 9:30 a.m.; and 6 BMDs were working from 9:30


43
  https://www.savannahnow.com/news/20200609/live-updates-georgia-primary-2020-in-chatham-county-what-you-
need-to-know.


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a.m. to the end of the day. The average time to cast a ballot is assumed to be 7.69 minutes. All the

other assumptions on inputs to the simulation model remain unchanged.

           Table 12 displays the simulated waiting lines at Salvation Army using the above

assumptions. Each number is the average over 100 simulation replications. Each replication is a

realization of an Election Day. According to the simulation results in Table 12, the last voter

checked in at 7:02 p.m., an average of 7 voters wait in line at 12:30 p.m., and the average longest

wait time is 1.8 hours long. According to the GPB News data set, the last voter checked in at

Salvation Army as at 7:00 p.m.; and according to the news report, 44 the wait time increased to two

hours at about 9:30 a.m., but no lines were observed at about 12:30 p.m. Thus, I believe that the

simulation model reasonably approximates the reality at Salvation Army on Election Day.

           My simulation results show that the average voter’s wait time is about 28 minutes and

about 34% voters waited longer than 30 minutes to cast their ballot at Salvation Army.

                              Table 12 Simulated Queue Performances for Salvation Army

     Check-in   Voting   Scanning               Wait at        Total                  Max        Last      Queue
                                     Max #                              % Wait
      Time      Time       Time                 BMD            Wait                   Wait    checked-    Length at
                                     BMD                                30+ min
      (min)     (min)     (min)                 (min)          (min)                 (hour)    in time    12:30 pm
       0.5       7.69      0.23        6         28             28        34%          1.8    7:02 p.m.       7



           Table 13 shows the simulated queue performance if all voting machines (6 BMDs or 14

BMDs) were working properly at 7 a.m. If all 6 machines were working properly when the polls

opened, the average wait time would have been reduced to about 4.5 minutes; and only 2% of

voters would have had to wait more than half an hour to vote. If all 14 machines had been working

at the beginning (e.g., if the room had enough extension cords), the average wait time would almost

have reduced to none; and no voters would have had to wait more than half an hour to vote.



44
  https://www.savannahnow.com/news/20200609/live-updates-georgia-primary-2020-in-chatham-county-what-you-
need-to-know.


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                   Table 13 Simulated Queue Performances for Salvation Army if All machines Work since Opening

     Check-in      Voting     Scanning                    Wait at                                                    Last
                                             Max #                    Total Wait     % Wait       Max Wait
      Time         Time         Time                      BMD                                                    checked-in
                                             BMD                        (min)        30+ min       (hour)
      (min)        (min)       (min)                      (min)                                                     time
                                               6           4.5            4.5          2%           0.38          7:02 p.m.
       0.5          7.69        0.23
                                               14           0.0           0.1          0%           0.02         6:51 p.m.



             This result demonstrates the significant negative impact of the machine unavailability on

waiting times. If election officials prepared the facility well and all machines were set up running

when the poll opened, 14 BMDs, or even 6 BMDS, would have been sufficient to ensure short

waiting lines and smooth voting experience for voters. The machine allocation plan for Salvation

Army was sufficient, or even over allocated. However, the poor preparation at the polling location

caused over a third of voters to wait over 30 minutes in reality. Thus, it is vital for election officials

to prepare for the polling location appropriately.

                   Example: Plan for the 2020 Presidential Election in Henry County

             Due to the Covid-19 pandemic, voting by mail is expected to be much higher than in

previous elections. Table 14 shows the number of votes by type in 2012 and 2016 presidential

elections in Henry County. The percentages of the different voting type stay relatively constant.

About 22% of the total registered voters are Election Day voters, 3% are mail-in absentee voters,

and 50% are the in-person early voters. Using 166,420, the total number of registered voters in

Henry County by June 2020, the mail-in absentees could be estimated at 166420 × 3% = 4993

in the upcoming 2020 General Election without considering the effect of Covid-19.

             As seen in 2020 PPP, Covid-19 will increase the mail-in absentees in the 2020 General

Election. The election officials in Henry County anticipate over 10,000 absentee ballots by mail

in the 2020 General Election. 45 To be conservative, I assume that all additional absentee ballots



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     Response from Henry County Poll Coordinator to open requests.


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(i.e., 10000-4993=5007) come from the would-be Election Day voters. 46 Using the total number

of registered voters in Henry County by June 2020, the Election Day voters in the upcoming

November General Election could be estimated as 166,420 × 22% − 5007 = 31,605, which is

31,605
          = 19% of the registered voters.
166,420

                                      Table 14 Votes by Type in Presidential Elections

                                                    Election Day             Mail-in Absentee       In-Person Early
         Election           # of Registered
                                                   Votes      %              Votes       %          Votes      %
     2012 Presidential          123177             28233     23%             3619       3%          59846     49%
     2016 Presidential          125837             26325     21%             3522       3%          68246     54%


          To simplify the problem, I assume that the Election Day voters at each polling place in

Henry County in the November General Election are 19% of the total registered voters. Using this

assumption, the number of voters at a polling place on Election Day in Henry County is estimated

as ranging from 378 (Timberridge) to 1,803 (Lowes), with an average of 855. Note that the total

number of registered voters by November will be almost surely larger than 166,420. 47 The actual

number of Election Day voters is likely to be bigger than what is estimated here. As such, my

estimates are conservative and serve as a lower bound.

          Because I do not know the ballot items in the upcoming presidential election, I use the

ballot from the 2016 presidential election in Henry County to approximate the ballot length of for

the 2020 General Election. The 2016 presidential election ballot had an average of 17 races and

33 choices, ranging from 16 to 18 and from 29 to 36 respectively. The Lowes Precinct had one of



46
   If not, all additional absentee ballots come from the would-be Election Day voters, the actual number of Election
Day voters would be bigger than what is estimated here. As such, my estimates are conservative and serve as a lower
bound.
47
   The deadline of voter registration in Georgia is October 5, 2020. From June to October, there is still time to register
and there is no reason to believe that voters will not do so. Therefore, the total number of registered voters by
November will be almost surely larger than 166,420 (which is the number of registered voters by the June election),
thereby increasing the total pool of individuals eligible and likely to vote.


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the longest ballots, with 18 races and 35 choices. Overall, the presidential election ballot is shorter

than the ballot of the 2020 PPP. According to the regression model, the overall average time to

cast a ballot at a precinct in Henry County is estimated at 3 minutes, with the upper 95% confidence

interval of 3.8 minutes. As suggested by Jaffe et al. (2018), for planning purposes, I use the upper

95% confidence interval as the average voting time at a precinct in my following analysis.

            If we keep the same machine allocation plan as in 2020 PPP, i.e., each polling place has 2

poll pads, 6 BMDs, and 1 scanner, then the waiting time at some polling places (i.e., Lowes and

North Hampton) would be expected to be hours long, while others would have very short wait

times. Table 15 shows the results by polling place using M/M/c queue formula. 48 It indicates that

Henry County would repeat the same problem as seen in the 2020 PPP. Equal machine allocation

would cause unfair waiting lines for voters at different polling places.

      Table 15 Estimated Wait Lines at Polls in Henry County for 2020 Presidential Election with equal machine allocation

                           Check-in    Voting     Scanning    Wait at              Wait at     Wait at     Total
                   # of                                                    #                                         % 30+
 Precinct                   Time       Time         Time      Check in             BMD         Scanner     Wait
                  Voters                                                  BMD                                       min Wait
                            (min)      (min)       (min)       (min)               (min)        (min)      (min)
 Locust Grove      1237       0.5        3.8        0.23          0.1        6       35.1        0.2        35.3      100%
 Westside          1291       1.5        3.8        0.23          0.1        6       52.2        0.2        52.5      100%
 Lowes             1803       2.5        4.0        0.23          0.3        6      236.7        0.3       237.3      100%
 North
                   1337       3.5        4.0        0.23          0.1        6       82.4        0.2        82.7      100%
 Hampton
 Stockbridge
                   1211       4.5        4.0        0.23          0.1        6       40.8        0.1        41.0      100%
 East-West
 Wesley
                   1116       4.5        3.8        0.23          0.1        6       29.9        0.1        30.1       37%
 Lakes
 South
                   1020       4.5        4.0        0.23          0.1        6       10.6        0.1        10.8       8%
 Hampton
 Red Oak           1029       4.5        3.9        0.23          0.1        6        6.4        0.1        6.6        2%
 Mt Carmel         968        4.5        3.9        0.23          0.1        6        3.9        0.1        4.1        0%
 Pates Creek       987        4.5        3.8        0.23          0.1        6        3.5        0.1        3.7        0%
 Hickory Flat      934        4.5        4.0        0.23          0.1        6        3.3        0.1        3.4        0%
 Lake Dow          922        4.5        4.0        0.23          0.1        6        2.9        0.1        3.1        0%
 Cotton Indian     890        4.5        3.9        0.23          0.1        6        1.7        0.1        1.9        0%


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  The shaded cells in Table 16 represent instances in which the polling place became overloaded, making it impossible
for the M / M / c formula to produce a numerical result. In those instances, a fluid model is used to approximate the
expected wait time.


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 Sandy Ridge      896     4.5     3.8     0.23        0.1   6    1.5     0.1    1.6     0%
 Unity Grove      894     4.5     3.7     0.23        0.1   6    1.2     0.1    1.3     0%
 Flippen          819     4.5     3.9     0.23        0.0   6    1.0     0.1    1.1     0%
 Oakland          838     4.5     3.8     0.23        0.0   6    1.0     0.1    1.1     0%
 McDonough
                  786     4.5     3.9     0.23        0.0   6    0.7     0.1    0.9     0%
 Central
 Lake Haven       789     4.5     3.8     0.23        0.0   6    0.6     0.1    0.7     0%
 Stockbridge
                  797     4.5     3.7     0.23        0.0   6    0.6     0.1    0.7     0%
 Central
 Shiloh           757     4.5     3.9     0.23        0.0   6    0.6     0.1    0.7     0%
 Ellenwood        797     4.5     3.7     0.23        0.0   6    0.6     0.1    0.7     0%
 Pleasant
                  755     4.5     3.9     0.23        0.0   6    0.6     0.1    0.7     0%
 Grove
 Grove Park       739     4.5     3.8     0.23        0.0   6    0.5     0.1    0.6     0%
 Shakerag         744     4.5     3.8     0.23        0.0   6    0.5     0.1    0.6     0%
 Lighthouse       687     4.5     3.9     0.23        0.0   6    0.4     0.1    0.5     0%
 Stagecoach       667     4.5     3.9     0.23        0.0   6    0.3     0.1    0.4     0%
 McMullen         687     4.5     3.8     0.23        0.0   6    0.3     0.1    0.4     0%
 Kelleytown       635     4.5     4.0     0.23        0.0   6    0.3     0.1    0.4     0%
 Tussahaw         629     4.5     3.9     0.23        0.0   6    0.2     0.1    0.3     0%
 Swan Lake        671     4.5     3.7     0.23        0.0   6    0.2     0.1    0.3     0%
 Mt Bethel        654     4.5     3.7     0.23        0.0   6    0.2     0.1    0.3     0%
 East Lake        627     4.5     3.8     0.23        0.0   6    0.2     0.1    0.3     0%
 Austin Road      626     4.5     3.7     0.23        0.0   6    0.2     0.1    0.3     0%
 Dutchtown        511     4.5     3.8     0.23        0.0   6    0.1     0.0    0.1     0%
 McDonough        491     4.5     3.8     0.23        0.0   6    0.1     0.0    0.1     0%
 Timberridge      378     4.5     4.0     0.23        0.0   6    0.0     0.0    0.1     0%



            Table 16 demonstrates a different BMD allocation with the same total number of 222

BMDs. The largest five precincts Lowes, North Hampton, Westside, Locust Grove, and

Stockbridge East-West are, respectively, allocated with 12, 9, 8, 8, and 8 BMDs. The number of

BMDs is reduced to three in the smallest precinct Timberridge. Under this BMD allocation plan,

the estimated average wait time would be no more than three minutes long at any polling place,

and no voter would have to wait for more than 30 minutes.




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  Table 16 Estimated Wait Lines at Polls in Henry County for 2020 Presidential Election with a different machine allocation

                          Check-in    Voting     Scanning     Wait at               Wait at    Wait at    Total
                 # of                                                      #                                        % Wait
Precinct                   Time       Time         Time       Check in              BMD        Scanner    Wait
                Voters                                                    BMD                                       30+ min
                           (min)      (min)       (min)        (min)                (min)       (min)     (min)
Locust Grove     1237       0.5         3.8        0.23          0.1         8        1.4        0.2       1.6         0%
Westside         1291        0.5        3.8        0.23          0.1         8        2.0        0.2       2.3         0%
Lowes            1803        0.5        4.0        0.23          0.3        12        0.8        0.3       1.5         0%
North                        0.5
                 1337                   4.0        0.23          0.1         9        1.2        0.2       1.5         0%
Hampton
Stockbridge                  0.5
                 1211                   4.0        0.23          0.1         8        1.6        0.1       1.9         0%
East-West
Wesley                       0.5
                 1116                   3.8        0.23          0.1         7        1.9        0.1       2.2         0%
Lakes
South                        0.5
                 1020                   4.0        0.23          0.1         7        1.5        0.1       1.7         0%
Hampton
Red Oak          1029        0.5        3.9        0.23          0.1         7        1.2        0.1       1.4         0%
Mt Carmel        968         0.5        3.9        0.23          0.1         7        0.9        0.1       1.1         0%
Pates Creek      987         0.5        3.8        0.23          0.1         7        0.9        0.1       1.0         0%
Hickory Flat     934         0.5        4.0        0.23          0.1         7        0.8        0.1       1.0         0%
Lake Dow         922         0.5        4.0        0.23          0.1         7        0.8        0.1       0.9         0%
Cotton Indian    890         0.5        3.9        0.23          0.1         6        1.7        0.1       1.9         0%
Sandy Ridge      896         0.5        3.8        0.23          0.1         6        1.5        0.1       1.6         0%
Unity Grove      894         0.5        3.7        0.23          0.1         6        1.2        0.1       1.3         0%
Flippen          819         0.5        3.9        0.23          0.0         6        1.0        0.1       1.1         0%
Oakland          838         0.5        3.8        0.23          0.0         6        1.0        0.1       1.1         0%
McDonough                    0.5
                 786                    3.9        0.23          0.0         6        0.7        0.1       0.9         0%
Central
Lake Haven       789         0.5        3.8        0.23          0.0         6        0.6        0.1       0.7         0%
Stockbridge                  0.5
                 797                    3.7        0.23          0.0         5        2.6        0.1       2.7         0%
Central
Shiloh           757         0.5        3.9        0.23          0.0         5        2.4        0.1       2.5         0%
Ellenwood        797         0.5        3.7        0.23          0.0         5        2.4        0.1       2.5         0%
Pleasant                     0.5
                 755                    3.9        0.23          0.0         5        2.3        0.1       2.5         0%
Grove
Grove Park       739         0.5        3.8        0.23          0.0         5        1.9        0.1       2.0         0%
Shakerag         744         0.5        3.8        0.23          0.0         5        1.7        0.1       1.9         0%
Lighthouse       687         0.5        3.9        0.23          0.0         5        1.3        0.1       1.4         0%
Stagecoach       667         0.5        3.9        0.23          0.0         5        1.2        0.1       1.3         0%
McMullen         687         0.5        3.8        0.23          0.0         5        1.1        0.1       1.2         0%
Kelleytown       635         0.5        4.0        0.23          0.0         5        1.1        0.1       1.1         0%
Tussahaw         629         0.5        3.9        0.23          0.0         5        0.9        0.1       0.9         0%
Swan Lake        671         0.5        3.7        0.23          0.0         5        0.9        0.1       0.9         0%
Mt Bethel        654         0.5        3.7        0.23          0.0         5        0.7        0.1       0.8         0%
East Lake        627         0.5        3.8        0.23          0.0         5        0.7        0.1       0.8         0%




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 Austin Road    626        0.5          3.7     0.23          0.0          5      0.6          0.1      0.7          0%
 Dutchtown      511        0.5          3.8     0.23          0.0          4      1.1          0.0      1.1          0%
 McDonough      491        0.5          3.8     0.23          0.0          4      0.9          0.0      1.0          0%
 Timberridge    378        0.5          4.0     0.23          0.0          3      2.1          0.0      2.1          0%


          Review the Plan for the 2020 Presidential Election in Athens-Clarke County

        The election officials in Athens-Clarke County have planned for the 2020 General Election.

Per their plan, there will be 24 polling places, and the voting machines are allocated as shown in

Table 17. The plan does not show how many scanners will be allocated to each polling place. I

assume that one scanner is allocated to each polling place.

               Table 17 Voting Machines Allocated at Polling Places in Athens-Clarke County for Nov 2020

                        Polling Place                     # of Poll Pads   # of BMD (plan 1)     # of BMD (plan 2)
       1A WINTERVILLE                                           4                  8                    12
       1B ACC TENNIS CENTER                                     5                 10                    15
       1C BARNETT SHOALS SCHOOL                                 3                  6                       9
       1D WHIT DAVIS ELEMENTARY                                 4                  8                    11
       2A JJ HARRIS ELEMENTARY                                  6                 12                    17
       2B HOWARD B STROUD ELEMENTARY                            7                 14                    20
       3A CLARKE CENTRAL HIGH                                   4                  8                    12
       3B THOMAS N. LAY PARK                                    6                 12                    17
       4A ATHENS TRANSIT                                        3                  6                       9
       4B MEMORIAL PARK                                         6                 12                    16
       5A OGLETHROPE AVENUE ELE SCH                             4                  8                    12
       5B WHITEHEAD RD ELE SCH                                  4                  8                    12
       5C CHASE STREET ELEMENTARY                               3                  6                       8
       5D ACC FLEET MAINTENANCE BLDG                            4                  8                    12
       6A CLEVELAND ROAD ELEMENTARY                             5                 10                    14
       6B GEORGIA SQUARE MALL                                   5                 10                    15
       6C TIMOTHY RD SCHOOL                                     4                  8                    12
       6D FIRE STATION #4                                       3                  6                       7
       7A UNITARIAN UNIVERSALIST FELLOWSHIP                     4                  8                    12
       7B ATHENS REGIONAL LIBRARY                               4                  8                    12
       7C FIRE STATION #3                                       4                  8                    11
       8A GAINES ELEM SCHOOL                                    5                 10                    13
       8B CEDAR SHOALS HIGH SCHOOL                              3                  6                       9
       8C FIRE STATION #7                                       5                 10                    15



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       Election officials estimate that the overall voter turnout will be 78% of registered voters

and 60% of the total votes will be by mail-in absentee ballots in November. One extreme scenario

is that 40% of the total ballots cast are in-person votes on Election Day and no one votes during

early voting time periods. Obviously, this scenario is very likely to overestimate the actual number

of Election Day voters. I will use this extreme scenario to estimate the wait time at the polls as it

is the most conservative approach. If the wait time under this scenario was short, the actual wait

time would be very likely even shorter.

       Thus, I assume that the Election Day voters at each polling place in the 2020 General

Election is 78% × 40% = 31.2% of registered voters. I am using the number of registered voters

at each polling place by June 2020. Using this assumption, the number of voters at a polling place

on Election Day is estimated ranging from 517 (6D) to 1,551 (2B), with an average of 963.

       Because I do not know the ballot items in the upcoming presidential election, I use the

ballot of the 2016 presidential election in Athens-Clarke County to approximate the ballot length

of the 2020 General Election. The 2016 presidential election ballot had an average of 16 races and

26 choices, ranging from 16 to 17 and from 26 to 27 respectively. Overall, the presidential election

ballot is shorter than the ballot of the 2020 PPP. According to the regression model, the overall

average time to cast a ballot at a precinct is estimated as 2.8 min, with the upper 95% confidence

interval of 3.6 minutes. As suggested by Jaffe et al. (2018), for the planning purpose, I use the

upper 95% confidence interval as the average voting time at a precinct in my following analysis.

       Using the BMD allocation Plan 1 in Table 17, Table 18 shows the estimated wait times by

polling place using M/M/c queue formula under the extreme scenario. It shows that all polling

place would have less than a 1-minute average wait time and no voters would need to wait for over

30 minutes. Plan 1 uses 210 BMDs. The result indicates that 210 BMDs would be sufficient. Plan




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2 uses 302 BMDs. If Plan 2 were used in November, the wait time at polls would be even shorter,

close to none. Thus, I believe that Athens-Clarke County is likely to have a smooth election in

November and voters will experience minimal wait times at the polls on Election Day.

             Table 18 Estimated Wait at Polls in Athens-Clarke County for Nov 2020 under the extreme scenario

 Precinct              Voting                              Wait at                       Wait at       Total
              # of                # BMDs         #                       Wait at                                % Wait
 / Polling             Time                                Check in                      Scanner       Wait
             Voters               (Plan 1)    Scanners                  BMD (min)                               30+ min
   Place               (min)                                (min)                         (min)        (min)
    1A        899       3.6          8            1          0.0            0.11           0.10         0.20      0%
   1B        1130        3.6         10           1           0.0           0.06           0.13         0.19      0%
   1C         694        3.6         6            1           0.0           0.24           0.07         0.31      0%
   1D         856        3.6         8            1           0.0           0.08           0.09         0.17      0%
   2A        1300        3.6         12           1             0.0         0.03           0.17         0.19      0%
   2B        1551        3.6         14           1           0.0           0.02           0.24         0.25      0%
   3A         873        3.6         8            1           0.0           0.09           0.09         0.18      0%
   3B        1310        3.6         12           1           0.0           0.03           0.17         0.20      0%
   4A         698        3.6         6            1           0.0           0.25           0.07         0.32      0%
   4B        1266        3.7         12           1           0.0           0.02           0.16         0.19      0%
   5A         922        3.6         8            1           0.0           0.12           0.10         0.22      0%
   5B         922        3.6         8            1           0.0           0.12           0.10         0.22      0%
   5C         625        3.6         6            1           0.0           0.14           0.06         0.21      0%
   5D         904        3.6         8            1           0.0           0.11           0.10         0.21      0%
   6A        1074        3.6         10           1             0.0         0.04           0.12         0.17      0%
   6B        1160        3.6         10           1           0.0           0.07           0.14         0.21      0%
   6C         938        3.6         8            1           0.0           0.14           0.10         0.24      0%
   6D         517        3.6         6            1           0.0           0.06           0.05         0.11      0%
   7A         899        3.7         8            1           0.0           0.12           0.10         0.22      0%
   7B         915        3.6         8            1           0.0           0.12           0.10         0.22      0%
   7C         827        3.6         8            1           0.0           0.06           0.09         0.15      0%
   8A         999        3.6         10           1             0.0         0.03           0.11         0.14      0%
   8B         689        3.6         6            1           0.0           0.23           0.07         0.30      0%
   8C        1151        3.7         10           1           0.0           0.08           0.14         0.22      0%



         The example of Athens-Clarke County demonstrates that sufficient voting machines can

effectively address the problem of long voting lines. Besides, the polling places at Athens-Clarke

County are generally smaller than the polling places in Henry County. Smaller precincts are easier

to manage and less likely to have disastrous wait time. Thus, if the total number of voting machines




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and poll workers were sufficient, it would be better to split large polling places into several smaller

ones.

                  Example: Plan for the 2020 Presidential Election in Fulton County

        I can also perform a similar analysis to the ones above for Fulton County. Because I do not

have exact data from the election officials in Fulton County, I will rely on the publicly available

information to estimate the Election Day turnout in Fulton County for the 2020 General Election.

        Table 19 shows the number of votes by type in 2016 presidential elections in Fulton

County. About 35% of the total voter turnout was Election Day voters, 5% were mail-in absentee

voters, and 59% were the in-person early voters.

                                    Table 19 Votes by Type in Presidential Elections

                                                                                    Mail-in
                         # of             Voter           Election Day                          In-Person Early
    Election                                                                       Absentee
                       Registered        Turnout
                                                         Votes          %         Votes     %   Votes      %
      2016
                        590362             75%          152138         35%       22117    5%    255158    59%
   Presidential


        Pew Research Center’s American Trends Panel Poll done in July 2020 shows that 40% of

voters are likely to vote in person on Election Day, 18% are likely to vote early in-person, and

39% are likely to vote by mail, during the pandemic. Thus, for the planning purpose, I assume

40% of voters will on Election Day in Fulton County.

        I also assume the overall voter turnout in the November General Election is 75% similar to

the turnout in 2016. To simplify the problem, I assume that the Election Day voters at each polling

place in Fulton County in the November General Election are 75% × 40% = 30% of the total

registered voters. Using 769,037, the total number of registered voters in Fulton County by June

2020, the number of voters at a polling place on Election Day in Fulton County is estimated as




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ranging from 135 (Mountain Park Community Building) to 4,777 (Park Tavern), with an average

of 1,398.

         Because I do not know the ballot items in the upcoming presidential election, I use the

ballot of the 2016 presidential election in Fulton County to approximate the ballot length of the

2020 General Election. The 2016 presidential election ballot had an average of 20 races and 37

choices, ranging from 18 to 24 and from 33 to 43 respectively. Overall, the presidential election

ballot is shorter than the ballot of the 2020 PPP. According to the regression model in Jaffe et al.

(2018), the longest average time to cast a ballot at a precinct in Fulton County is estimated as 3.4

minutes, with the upper 95% confidence interval of 4.5 minutes. As suggested by Jaffe et al.

(2018), for the planning purpose, I use 4.5 minutes as the average voting time in my following

analysis.

         If Fulton County assigns the same number of voting machines at Park Tavern as did in

2020 PPP, the wait time would be hours long again as in 2020 PPP. I keep the same assumptions

of service times as before, i.e., 30-second check-in time, 4.5-minute voting time, and 14-second

scanning time. With 4 poll pads, a maximum of 8 voters could be checked in per hours; with 19

BMDs, a maximum of 6.9 voters per hour could mark their ballots; and with 1 scanner, a maximum

of 4.4 voters per hour could scanner their ballot. Here, the scanner would be the bottleneck because

it is the slowest step of the whole voting process. If 4,777 voters turned out at Park Tavern on

Election Day for the 2020 General Election, the queue would be overloaded, and the average wait

time will be over 3 hours long. 49




49
  Because the queue would be overloaded at the BMD stage and at the scanner stage, for simplicity, I approximate
the three-stage tandem queueing system with a single stage queue with the service rate of 4.4 per hour. Using the fluid
model analysis as I did previously, the estimate of the average wait time is 189 minutes. The detailed calculation is in
the excel file submitted with this report.


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         Table 20 proposes an allocation plan for the 2020 General Election. 50 In this plan, a total

of 406 poll pads, 1667 BMDs, and 196 scanners are assigned in Fulton County. This plan serves

as a lower bound of the number of voting machines needed at polling places and it assumes all

voting machines function properly at all the times during the Election Day. The county has 663

poll pads, 3,324 BMDs, and 287 ballot scanners 51. Thus, the county has enough voting equipment

to implement the lower-bound plan in Table 21 and should continue to allocate the remaining

equipment to polling places to increase the buffer room against unexpected circumstances (e.g.,

higher turnout, machine failures) on Election Day. The largest polling place, Park Tavern, should

be allocated at least 5 poll pads, 31 BMDs, and 2 scanners. Under this allocation plan, the estimated

average wait time would be no more than four minutes long at any polling place, and no voter

would have to wait for more than 30 minutes.

                    Table 20 Voting Machine Allocation for the 2020 Presidential Election in Fulton County

                                                                         Wait at    Wait at    Wait at       Total   % Wait
                             # of      # Poll      #            #
         Precinct                                                        Check      BMD        Scanner       Wait     30+
                            Voters     Pads       BMDs       Scanner
                                                                        in (min)    (min)       (min)        (min)    min
 Park Tavern                 4777         5         31            2        0.1        3.0        0.3          3.4     0%
 Cathedral of Saint
                             3906         4         26            2        0.2        1.9        0.1          2.2     0%
 Philip
 Johns Creek
                             3557         4         24            2        0.1        1.6        0.1          1.8     0%
 Environmental Campus
 Morningside Baptist
                             3425         4         23            2        0.1        1.8        0.1          2.0     0%
 Church Gym
 Northwest Library at
                             3399         4         23            2        0.1        1.6        0.1          1.8     0%
 Scotts Crossings
 Roswell Library             3324         4         22            2        0.1        2.6        0.1          2.8     0%
 Messiah Lutheran
                             3313         4         22            2        0.1        2.4        0.1          2.6     0%
 Church
 Peachtree Hills
                             3232         4         22            2        0.1        1.5        0.1          1.7     0%
 Recreation Center
 Hillside Elementary
                             3042         4         21            2        0.1        1.3        0.1          1.4     0%
 School
 First Baptist Church of
                             2886         4         20            2        0.0        1.3        0.1          1.4     0%
 Fairburn
 Liberty Baptist Church      2860         3         19            2        0.2        2.9        0.1          3.2     0%
 Woodland Elementary         2841         3         19            2        0.2        2.5        0.1          2.8     0%


50
  The full table is available in the Excel file submitted with this report.
51
  https://www.ajc.com/news/state--regional-govt--politics/georgia-hurries-deliver-new-voting-machines-time-for-
election/sjrPB5ZPbaBoO3ONBGqKgK/


                                                             50
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 Church of The
                          2679   3      18          2    0.2      2.4     0.1      2.7     0%
 Redeemer
 Cleveland Avenue
                          2611   3      18          2    0.2      1.6     0.0      1.8     0%
 Elementary School
 Etris Community
                          2606   3      18          2    0.2      1.5     0.0      1.7     0%
 Center
 Independence High
                          2598   3      17          2    0.1      4.7     0.0      4.9     0%
 School
 Christian City Welcome
                          2578   3      18          2    0.1      1.3     0.0      1.5     0%
 Center
 Brookview Elementary
                          2542   3      17          2    0.1      2.9     0.0      3.0     0%
 School
 Butler Street Baptist
                          2500   3      17          2    0.1      2.1     0.0      2.3     0%
 Church
 Antioch Baptist Church
                          2477   3      17          2    0.1      1.8     0.0      2.0     0%
 Family Center
 North River Baptist
                          2445   3      17          2    0.1      1.5     0.0      1.7     0%
 Church
 Lebanon Baptist Church   2429   3      17          2    0.1      1.4     0.0      1.5     0%
 Paul L. Dunbar School    2387   3      16          2    0.1      3.0     0.0      3.1     0%
 Cogburn Woods
                          2346   3      16          2    0.1      2.2     0.0      2.3     0%
 Elementary
 North Fulton Annex       2338   3      16          2    0.1      2.1     0.0      2.2     0%
 Therrell D.M. High
                          2322   3      16          2    0.1      1.9     0.0      2.0     0%
 School
 William Walker
                          2314   3      16          2    0.1      1.8     0.0      1.9     0%
 Recreation Center
 Burdett Park Gym         2288   3      16          2    0.1      1.5     0.0      1.6     0%
 Manning Oaks
                          2269   3      16          2    0.1      1.4     0.0      1.5     0%
 Elementary School
 C.T. Martin Natatorium
                          2213   3      15          2    0.1      2.6     0.0      2.7     0%
 & Recreation Center
 Sara Rawson Smith
                          2186   3      15          2    0.1      2.2     0.0      2.3     0%
 School
 Hammond Park Gym         2166   3      15          1    0.1      1.9     0.5      2.5     0%
 St. James United
                          2137   3      15          1    0.1      1.6     0.5      2.1     0%
 Methodist Church
 Sandy Springs Middle
                          2097   3      15          1    0.1      1.2     0.5      1.8     0%
 School
 Wolf Creek Branch
                          2067   3      14          1    0.1      2.9     0.4      3.4     0%
 Library
                                               …
 Mountain Park
                          135    2       2          1    0.0      1.0     0.0      1.0     0%
 Community Building



                                     RECOMMENDATIONS

        Proper Voting Machine Allocations. A proper voting machine allocation, including poll

pads, BMDs, printers, and scanners, can prevent long waiting lines and improve the equity of wait

times across polling places (e.g., Yang et al, 2013). As shown in the above analysis, using a



                                               51
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different allocation plan in 2020 PPP election could have made the average wait time no more than

four minutes long at any polling place and no voter would have had to wait for more than 30

minutes in Henry County, instead of having some voters waiting hours to cast ballot. To make a

proper machine allocation plan, as demonstrated above, election officials should consider the

number of voters that will turn out on Election Day, the ballot length, and the total number of

voting machines available to them. The ballot length is used to estimate the time to vote on BMDs.

As suggested by Jaffe et al. (2018), for the planning purpose election officials should use the upper

95% confidence interval obtained from the regression model as the average voting time. In general,

the bottleneck of the entire voting process is at the BMDs. Election officials should pay close

attention to the number of BMDs at a polling place. The M/M/c queue formula (provided in the

Excel file submitted with the report) can be used to estimate the expected wait time given the

number of voting machines. It would be a helpful tool for planning purposes. This can be a most

direct and effective approach to avoid long lines at polls.

       Minimizing precinct consolidation. Precinct consolidation creates large polling places (e.g,

800+ Election Day voters). Large polling places are more difficult to manage and more likely to

have disastrous waiting lines. As my analysis demonstrates, all the polling locations that reported

having long lines on June 9 in Henry County had over 800 voters allocated to them. All polling

places in Athens-Clarke County had no more than 500 Election Day voters on June 9 and none of

them had long lines. Thus, it would be better to have smaller polling places (e.g., 500 Election Day

voters or less), with sufficient allocations of voting machines and other equipment as noted above.

       Encourage Mail-in absentee ballots. My previous research strongly indicates that the best

way to substantially decrease the chance of long lines on Election Day is to offload election voters

to other venues, such as early voting and mail-in ballots. The reduction in the number of voters




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turning out on Election Day can substantially lower the risk of long waiting lines. For example,

my analysis showed that large polling places in terms of the number of voters on Election Day are

more likely to encounter long lines (e.g., Park Tavern in Fulton County, and Lowes in Henry

County), and small polling places generally have very short or no wait times. As a result,

encouraging even more mail-in absentee ballots will help to lower the Election Day turnout to

reduce the risk of long wait times on Election Day.

       Prepare for equipment failure. In practice, there will be problems associated with voting

machines (i.e., poll pads, BMDs, printers, scanners) throughout Election Day, either due to

technical errors or human errors. This is a feature of Election Day voting and not something that

should surprise experienced election administrators; rather, it is a factor that they should plan and

prepare for. If breakdowns are factored in, more resources will be needed. As shown in Tables 7

and 8, if Park Tavern had not lost some BMDs in the first hour on Election Day it could have

reduced the average wait time by 40% and 807 fewer voters would have waited more than 30

minutes in the 2020 PPP. Similar results were show for Lithia High. To minimize the impact of

equipment failures, election officials should be well trained so that they are familiar with the

commonly seen problems of voting machines and know how to solve them. For those difficult

technical problems, the State or the Counties should have technicians deployed and ready to fix

them. In the meantime, election officials should have a backup plan if the equipment failures

cannot be fixed in a short amount of time. For example, using paper pollbooks if poll pads brake

down, paper ballots if BMDs or printers break down, and a ballot deposit box if scanners stop

working. To assist election administrators in evaluating the point at which they should switch to

back-up voting methods, I have included a “Guideline to Using Back Ups” at the end of this report.




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        Prepare polling locations appropriately. Election officials need to pay close attention to

the physical logistics of the polling place, especially in large precincts during the pandemic.

Considering the restrictions of social distancing, the selected polling place should be large enough

in space and in electric power to place the necessary number of voting machines. For example, as

shown in Tables 9 and 10, if the Salvation Army polling location had had the infrastructure to

allow all available 14 BMDs to work altogether, there would have been almost 0 wait time on

Election Day. Further, even if the election officials were able to set up only 6 out of the 14 BMDs

and have them running 7 a.m., the average wait time would have been less than 5 minutes in the

2020 PPP. Park Tavern is another example. As shown in analysis, Park Tavern needed 39 BMDs

in the June 2020 election to avoid long lines, if social distancing does not allow for a facility large

enough to house this number of machines, election officials should consider other options, such as

splitting the large polling place into several smaller ones. Election officials should also hire enough

poll workers. For example, one poll worker can only check in one voter on poll pad at a time. If a

polling place is assigned with 4 poll pads but only two check-in poll workers are hired, then only

2 poll pads can actually work and the other 2 poll pads will be left unused.

        Prepare for higher than expected turnout. The upcoming presidential election is likely to

have higher overall turnout than previous election. 52 Indeed, a recent national survey done by Pew

Research finds a record share of voters saying it “really matters” who wins in November. 53 The

survey also finds that 40% of voters would like to vote in person on Election Day and 18% prefer

to vote in-person early, despite of the Covid-19 pandemic. 54 Thus, election officials should be

prepared for higher than expected in person turnout both during early voting and on Election Day.


52
   https://www.usnews.com/news/elections/articles/2019-09-20/experts-predict-huge-turnout-in-2020.
53
   https://www.pewresearch.org/politics/2020/08/13/election-2020-voters-are-highly-engaged-but-nearly-half-
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This means allocating more voting machines if possible. Election officials could use higher

number of voters in the M/M/c queueing formula to determine the number of necessary voting

machines at polls.

                                           A Guideline to Using Back-ups

       I propose a simple 30-minute rule to activate back-ups. If a machine (poll pad, BMD, or

scanner) breaks down and the waiting line increases, whenever the last voter in line is expected to

wait 30 minutes or more, the back-up equipment should be activated to use.

       The following shows a simple method to quickly estimate the wait time of the last voter in

line. As illustrated in Figure 1, each stage has its own waiting line and we can treat them

independently. For any line in Figure 1. Denote 𝑡𝑡 the average service time in minutes, 𝑐𝑐 the

number of initial voting machines at a poll. Denote 𝑄𝑄 as the current number of voters in line.

Suppose 𝑚𝑚 machines have broken down. Then the number of current working machines becomes
                                      𝑡𝑡
𝑐𝑐 − 𝑚𝑚. So, on average every                minutes a voter will leave the queue. The wait time of the last
                                    𝑐𝑐−𝑚𝑚

                          𝑡𝑡                 𝑡𝑡
voter in line would be           . If 𝑄𝑄           ≥ 30, the back-ups should be activated to use. Re-arrange
                         𝑐𝑐−𝑚𝑚             𝑐𝑐−𝑚𝑚

the formula; we have the back-ups should be used whenever

                                                            30(c − 𝑚𝑚)
                                                     𝑄𝑄 ≥              .
                                                                𝑡𝑡

       Example 1. Suppose the average voting time is 5 minutes, 10 BMDs are initially allocated

at the poll, and 2 BMDs have just broken down. Using the above formula, paper ballots should be
                                                                                    10−2
activated to use whenever the waiting line at BMDs reaches 48 (= 30 ×                    ) voters.
                                                                                     5

       Example 2. Suppose the average check-in time is 0.5 minutes, 2 poll pads are initially

allocated at the poll, and 1 poll pad has just broken down. Using the above formula, paper
                                                                                                       2−1
pollbooks should be activated to use whenever the waiting line at check-in reaches 60 (= 30 ×                 )
                                                                                                        0.5



                                                              55
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voters. Note that if the poll pads do not work, the BMDs cannot work. So, if a voter is checked in

using paper poll book, he cannot use BMD and has to vote on paper ballot.

         Example 3. Suppose the average scanning time is 0.23 minutes, 1 scanner is initially

allocated at the polling location, and this scanner has just broken down. Using the above formula,

a ballot deposit box should be activated to use whenever the waiting line at scanning is longer than
             1−1
0 (= 30 ×          ) voters. In other words, a ballot deposit box should be immediately activated.
             0.23

                                                 CONCLUSION

         My analyses above use queueing theory and simulation models to provide insights into the

wait times at Georgia polling locations. In my opinion, the election officials in Henry County and

Fulton County did not properly allocate voting machines to polling places. 55 They did not properly

consider the distributions of voters across polling places and the differences of ballot length across

polling places. Thus, some polling places, particularly large ones, did not receive enough voting

machines.

         Additionally, some election officials were not prepared for the equipment breakdowns,

either due to technical errors or human errors. Some election officials simply did not prepare the

polling location well so that the poll could not open as scheduled. This exacerbated the long line

problems at polls. If the same plan made for the 2020 PPE is made for the future elections it is

likely (and virtually certain) to result in long lines at the large polling places again as insufficient

voting resources will be allocated at those places and not all available voting equipment will be

set up and running properly when the polls open.



55
  It is my understanding that there were long wait times at several other counties. I have no reason to believe that the
same problems that I uncovered in Fulton and Henry County were not present in those counties and, indeed, these are
typical when long lines result. Nonetheless, I do not have the data to perform a robust analysis on those locations. If I
were provided with such data, I could perform the same analysis on all of these locations and provide sound
recommendations on allocation of machines, back up plans, and precinct consolidation.


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       I reserve the right to supplement this and other reports in light of additional facts,

testimony and/or materials that may come to light. Pursuant to 28 U.S.C. § 1746, I declare under

penalty of perjury under the laws of the United States of America that the foregoing is true and

correct.

DATED: 8/31/2020

                                              By:______________________________

                                                  Muer Yang




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                                                 Appendix 1

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PRESENTATIONS

• Wang, X., Yang, M., and Fry, M., "A Scenario Robust Optimization Model to Stockpile Strategic Relief Supplies
  for Natural Disasters," POMS Annual Meeting, Seattle, May 2017.
• Incentive Scheme For Diabetes Patients To Take A1c Test Quarterly, INFORMS Annual Meeting, Nashville,
  Tennessee. November 2016, with Kumar, S. and Bekx, P.
• A Robust Model to Preposition Relief Supplies, POMS Annual Meeting, Orlando, May 2016, with X. Wang
• Multiple Resource Type Straddling a Standard with Applications in Election Resource Allocation, INFORMS
  Annual Meeting, Philadelphia, Nov 2015, with T.T. Allen
• Convergent Algorithms for Satisfying Standards with Election System, INFORMS Annual Meeting, San
  Francisco, Nov 2014, with T.T. Allen
• Feasible Allocation thru Iterative Relaxations with Election Systems, INFORMS Annual Meeting, San Francisco,
  Nov 2014, with T.T. Allen
• Managing Tele-ICUs: A Service Factory for the Critically Ill, POMS Annual Meeting 2014, Atlanta, May 2014,
  with M. Fry and C. Scurlock
• Modeling Business Value of Global Planning at 3M Company, INFORMS Annual Meeting 2013, Minneapolis,
  Oct 2013, with S. Kumar and D. Strike
• The ICU Will See You Now: Efficient-Equitable Admission Policies, INFORMS Annual Meeting 2013,
  Minneapolis, Oct 2013, with M. Fry and C. Scurlock
• Operations Improvement for Tele-ICUs, POMS 24th Annual Conference, 2013, Denver, Colorado, 5/3013, with
  M. Fry and C. Scurlock
• Building Flexibility in US Healthcare Delivery through Medical Tourism, INFORMS Annual Meeting 2012,
  Phoenix, AZ, 10/2012, with S. Kumar
• Robust Voting Machine Allocations, INFORMS Annual Meeting 2012, Phoenix, AZ, 10/2012, with X. Wang and
  N. Xu
• The ICU Will See You Now: Efficient–Equitable Admission Control Policies for a Surgical ICU with Batch
  Arrival, 23rd Annual POM Conference, Chicago, IL, April 2012
• Efficient-Equitable Allocation Policies for the Voting Systems, 23rd Annual POM Conference, Chicago, IL, April
  2012.
• Who is the Next Patient in ICU? INFORMS 2011 Annual Meeting at Charlotte, NC, November 2011, with Yang,
  M. Fry, M. Scurlock, C.
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• Experts predict long lines for some on Election Day in Maricopa County, R.L. Sanders, The Republic |
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• Featured in the article Improving the Efficiency of ICU Admission Decisions by Cooke CR in Critical Care
  Medicine, 2013
• Are all voters allowed equal access given ballot length diversity? IE Industrial Engineer, Jun 2013.
• Voting-machine-allocation method could reduce voters' wait time by 36 percent, Science News Daily, 2010
• Featured in Portfolio, the annual alumni magazine of College of Business at University of Cincinnati, 2010

HONORS & AWARDS
• The Susan E. Heckler Research Excellence Award, University of St. Thomas, 2015
• OCB Summer Research Grant, University of St. Thomas, 2012-2016
• 2nd place, INFORMS Public Sector OR Best Paper Competition, 2011

SERVICES & AFFILIATIONS
• Expert witness in recent cases related to voting issues.
• Junior Vice President of Programs, INFORMS Public Sector OR, 2020
• VP of Communications, INFORMS Public Sector OR, 2018-2019
• Chair, 2016 INFORMS Public Sector OR Best Paper Competition
• Reviewers for MSOM, Decision Sciences Journal, OMEGA, Journal of Manufacturing Systems, Information
  Systems and Operational Research, and International Journal of Production Economics, Simulation Modelling
  Practice and Theory, Information Systems and Operational Research, etc.
• The Institute for Operations Research and the Management Sciences (INFORMS)
• Production and Operations Management Society (POMS)
• Election Verification Network (EVN)




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